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                                 Special Personal
                              Deposit Account Updates
                                 Idaho, Oregon, Washington


             Including:

             A complete guide to the rules and regulations governing checking,
             savings and CD accounts, as well as overdraft protection services

             Highlights of changes to your personal deposit account agreements

             Privacy Policy




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         SECTION I                                                              •  We return the check or withdrawal unpaid and
                                                                                   charge a Returned Item Fee to the account. Note:
         Highlights of Changes                                                     Some payees (the person or company to whom
                                                                                   you’ve written the check) also may charge you a
         to Personal Checking,                                                     fee for having the item returned to them.
         Savings, Overdraft                                                •    We do not provide a fixed Overdraft Limit reported
                                                                                on your statement that we use to pay overdrafts
         Protection, Certificate                                                automatically. However, we may still pay overdrafts
                                                                                at our discretion.
         of Deposit (CD), and                                              •    Even if you have directed us not to, we may, but
         Retirement Accounts                                                    aren’t required to, honor debit card or any other
                                                                                transactions authorized against insufficient funds.
            The “Account Agreement” (Rules and Regulations)                     We will assess an Insufficient Funds Fee if the with-
         which will govern your checking and savings accounts                   drawal causes an overdraft.
         beginning May 22, 2009, and will apply to certificates
                                                                           Overdraft protection:
         of deposit and retirement certificates of deposit
         accounts as of the first renewal, are in Section II of this       •    In addition to savings accounts, we may offer you the
         booklet.                                                               ability to link a credit card or Home Equity Line of
            You will find specific Personal product features                    Credit to your checking account to provide overdraft
         organized under the “Personal Account Products and                     protection. We transfer funds to your checking
         Services” section beginning on page 10. Changes to                     account in $50 increments.
         your account features are reflected in bold print. The            Arbitration:
         products listed do not reflect available products or
         features for accounts opened after May 21, 2009.
                                                                           •    Our arbitration agreement differs from the one in
                                                                                your current deposit agreement. Please see page 32
            In addition to the Account Agreement, retirement                    for the new provision.
         plan deposit accounts are also governed by retirement
         plan documents. The retirement plan documents will                Account status:
         be sent separately and outline the provisions that will           •    Accounts that have had no deposits or withdrawals
         go into effect beginning May 22, 2009.                                 within a 30-month (12 months in Texas) period will
            The following information highlights significant                    receive annual statements. If your account is not in
         changes to the agreement that governs your accounts                    an active status, purchases made with your debit
         and will apply to all Chase deposit account customers                  card and ATM transactions will be suspended.
         as of May 22, 2009. Please read the full Account                  Funds availability policy:
         Agreement for complete terms.
                                                                           •    When your deposited funds are available will
         Changes to deposit account agreement:                                  change. Generally, we give you next day avail-
         Withdrawals from Your Checking Or Savings Account                      ability on your deposit. Please go to page 34 and
                                                                                review the complete Funds Availability Policy.
         •   Posting order: Generally, deposits will be credited
             to your account first and then we’ll pay your items
             (e.g. checks, debit card transactions, ATM transac-               Helpful Information – Availability of Funds
             tions and other debits to your account) from high-                    There are differences between when you make a
             est to lowest dollar amount each business day.                    deposit, when we consider your deposit received and
             Certain transactions such as wire transfers may post              when the funds become available for your use. It’s
             before others.                                                    important to understand these differences because
         •   Insufficient funds: If you don’t have enough funds                if you try to use funds that aren’t available, it may
             available in your account to cover your checks or any             result in returned checks and fees. We’ve summa-
             other withdrawals, one of these two things will hap-              rized a few key points below. We know this is a com-
             pen depending on your specific account:                           plicated topic, so please don’t hesitate to ask us if
             • We pay the check or other withdrawal and charge                 you have any questions.
                an Insufficient Funds Fee to the account.




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                                                                         Chase MobileSM:
          •   When Your Deposit Is Received: We consider
              your deposit received on the day you make your             •   We offer services on your mobile phone/PDA where
              deposit if it’s made on a business day before the              you can receive account information and alerts and
              cutoff time displayed at the branch or ATM. If you             perform certain online transactions. There is no
              make your deposit on a weekend or a legal holi-                charge for the service from Chase, but charges from
              day or after the cutoff time on a business day,                your cell service provider may apply.
              we’ll consider the deposit received on the fol-
              lowing business day.
                                                                         Changes to general account fees:
                  For example: You make your deposit on Friday               Refer to “Additional Banking Services and Fees” for
                  at 6:10 p.m. and the cutoff is at 6 p.m. We            a listing of other fees that will apply to your checking
                  consider the deposit received on the next busi-        and savings account. Items in italics reflect fees that
                  ness day, which is Monday. However, if                 are changing. Below are just a few that will change:
                  Monday is a holiday, we consider the deposit           Insufficient Funds and Returned Item Fees – Insufficient
                  received on Tuesday.                                   Funds and Returned Item Fees will be different.
          •   When Your Deposit Is Available: Generally, we              Overdraft Protection Transfer Fee –
              give you next day availability on your deposit.            • A $10 Overdraft Protection Transfer Fee will be
              This means:                                                    charged to the checking account for each day a
              • We’ll use the funds from your deposit to pay                 Transfer occurs.
                  items (including checks, online payments and           • Overdraft Protection Transfer Fees for transfers from
                  debit card purchases) on the day we receive                savings accounts will no longer be waived for savings
                  your deposit.                                              accounts regardless of balance.
              • Your funds aren’t available for cash with-               • The Overdraft Protection Transfer Fee for transfers
                  drawals until the next business day.                       from an Overdraft Line of Credit will be waived at this
              • Cash deposits made with a banker, wire trans-                time – only for checking accounts that have Overdraft
                  fers and electronic direct deposit of your pay-            Line of Credit linked to them as of May 21, 2009.
                  check or government benefit payment are                    Annual fees will no longer be charged for Overdraft
                  available for a cash withdrawal on the same                Line of Credit accounts.
                  day we receive them.
                                                                         Non-Chase ATM Withdrawals, Transfers, or Balance
          •   Holds: If we hold your funds beyond the next               Inquiries – Fees will be subtracted from your account
              business day, it will be noted on your receipt after       on the same day as the ATM withdrawal, transfer, or
              you make your deposit with a banker. However,              balance inquiry.
              if your deposit isn’t made with a banker (e.g., at
              an ATM) or we add a hold after you leave the               Other changes to your account:
              branch, we’ll send you a notice to let you know
                                                                         Free ID Theft Services:
              when your funds will be available.
          •   Holds for Court Orders: We may be asked by a               •   Free ID Theft Services will no longer be available
                                                                             after May 22, 2009.
              legal entity such as a court or government agency
              to place a hold on your account, which could               •   If you are a victim of identity theft or suspect
              limit your transactions. We’ll send you a letter if            account fraud, you should notify your bank(s) imme-
              this happens.                                                  diately. If your account(s) is with Chase, you should
                                                                             call us immediately.
          •   New Accounts: New accounts may have more
              restrictions on the availability of funds. See your        •   Your debit card includes Zero Liability protection.
              Funds Availability Policy for details.                         Chase will reimburse you for any unauthorized card
                                                                             transactions made at stores, ATMs, on the phone or
          •   Returned Deposits: Even after we’ve made your
              funds available for withdrawal, it doesn’t neces-              online when reported promptly.
              sarily mean the items have been paid by the bank           Non-Resident Alien Status:
              they were drawn on. It can take weeks, even
              months, for counterfeits or other issues to be dis-        •   Non-Resident Aliens with a Tax Identification Number
                                                                             (TIN) will be asked to recertify in an annual mailing.
              covered. If an item is returned by another bank or
              not paid, we’ll subtract the amount of the item and        Statements:
              the Deposited Item Returned fee from your
              account balance and let you know. When your bal-
                                                                         •   You will continue to receive your checking account
                                                                             statement at the same frequency as you do today,
              ance is reduced as a result of a returned or unpaid
                                                                             but the day it is received may vary by a day or two.
              item, your account could become overdrawn.

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         •   Transaction descriptions, content and the order               •   Transfers from your overdraft protection account will
             of information may appear on your statement                       be made in $50 increments, up to the maximum
             differently than before.                                          amount available in the overdraft protection
         •   If you currently have accounts with WaMu and                      account.
             Chase, those accounts will not be automatically               •   The minimum monthly payment (the greater of
             combined for statement or relationship pricing.                   2.5% of the outstanding balance or $50) will be
             Please talk to a banker after May 24, 2009, to link               automatically debited from your checking account
             your accounts.                                                    on your payment due date if you have not already
                                                                               made your payment. You can also make additional
         •   If you currently have accounts at WaMu that were
                                                                               payments to your overdraft account by mail, online
             opened in different states, these accounts will no
                                                                               via Chase.com, or by visiting your branch.
             longer appear on a combined statement or be linked
             for relationship pricing.                                     Preauthorized Automatic Payments and Transfers
         •   Annual Summary information for Insufficient Fund              (PATs):
             and Returned Item Fees will no longer be on your              •   PATs will be scheduled on business days only, which
             checking account statement. Individual transactions               may occur on a different day than before. If you
             will continue to be listed in the activity.                       would like to find out the date of your automatic
         •   For savings accounts (excluding Chase Retirement                  transfers after May 22, 2009, please call us.
             Money Market Accounts) on a combined statement,               •   We may not continue any PATs established between
             interest will be paid on the same date and frequency              your accounts that were opened in different states
             as the combined statement date. This may change                   at WaMu or at other institutions.
             your interest payment date. (Your first combined              •   We cannot support any existing instructions that you
             statement after May 22, 2009, may reflect less inter-             have provided to WaMu to stop your PATs. Please
             est paid only as a result of fewer days in that state-            contact us at least 3 days in advance when you want
             ment cycle. All subsequent statements will reflect a              the PATs to stop.
             complete cycle.)
                                                                           •   PATs into your account will be available for use on
         •   If you currently have your checks returned with your              the business day of the transfer.
             statement, your first statement after May 22, 2009,           •   A hold will be placed on your account for the
             may only contain some of your checks. All state-                  amount of the PATs that will be subtracted from
             ments after the first statement will only contain                 your account that night.
             images of your checks.
                                                                           •   If you do not have enough money in your account
         •   Linked Mortgages will no longer show on your                      to cover the PATs, we will attempt to subtract funds
             statement.                                                        from your account 3 business days in a row. If the
         •   You will receive a guide on how to read your new                  transfer is unsuccessful after the second set of 3
             statement with the first statement you receive after              transfer attempts, the transfer instruction will be
             May 22, 2009.                                                     cancelled.
         Overdraft Line of Credit:                                         •   Repeating PATs established online at WaMu will
                                                                               only show under the primary account holder on
         •   The overdraft protection account can protect mul-                 Chase.com. If one of your automatic transfers is no
             tiple checking accounts. Stop by your branch after                longer appearing after May 22, 2009, please call us.
             May 24, 2009, to link additional checking accounts.
                                                                           Plus Package (See page 13):
         •   A new 16-digit account number will be issued for
             your overdraft line of credit account. You will receive       •   Customers currently enrolled in the Plus Package will
             your new account number on the first overdraft                    retain their existing program benefits and service
             line of credit account statement you receive after                pricing. (Gold Checking customers see page 11.)
             May 22, 2009.                                                 •   For questions on program benefits call
         •   You will now receive a separate, individual overdraft             1-800-251-2311.
             line of credit account statement each month there
                                                                           Certificate of Deposit:
             is activity or an outstanding balance on your account.
             Summary information for your overdraft account                •   Interest checks will only be mailed to the primary
             will continue to appear on your checking account                  account holder at the primary address.
             statement and may appear as a credit card.




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         •   Interest payments scheduled to go to a checking or             •   ACH deposits no longer accepted.
             savings account that was opened in a different state
                                                                            Retirement Plans:
             at WaMu, or that has been closed, will be sent to the
             primary account holder by check.                               •  Information and materials regarding the docu-
                                                                               ment(s) that govern your Traditional IRA (including
         •   At maturity, your CD will automatically renew for
                                                                               SEP and SARSEP), Traditional Rollover IRA, Roth IRA,
             the same or nearest available term at the then
                                                                               Roth Conversion IRA, Profit Sharing Plan, Money
             current interest rate. Terms for personal CDs range
                                                                               Purchase Plan and/or Keogh are being sent to you
             from 30 days to 10 years.
                                                                               under separate cover.
         •   CD statements will no longer be generated. You can
                                                                            • Statements will be sent annually (or quarterly for
             receive summary CD information when linked as
                                                                               Profit Sharing and Money Purchase Pension Plans)
             part of a combined checking account statement.
                                                                               at year-end and they will have a new format.
             Year-to-date interest paid, term and daily transac-
             tion detail will no longer be listed.                          • Retirement Plan Fees: See page 17 for new IRA
                                                                               Annual Fee and Trustee-to-Trustee Transfer Fees.
         •   At renewal, interest payment frequency will remain
             the same, but the payment date will be based on the            Transactions Made by Phone or Online: Please pay
             calendar date of the renewal.                                  close attention to the date transactions will be made
                                                                            available as these transaction cut-off times will change.
         •   ACH deposits are no longer accepted.
                                                                            Chase ATMs:
         Renewal Notices for CDs and Retirement CDs:
         •   If you received a CD Renewal Notice from WaMu for              •   Deposits will only be accepted at ATMs that have
                                                                                converted to Chase. (California ATMs will accept
             your Certificate of Deposit which matures on or after
                                                                                your deposit starting October 2009.)
             May 22, 2009:
             • Disregard the information on the WaMu notice                 •   Deposit cut-off times may be different and will be
                                                                                posted at each ATM.
                 EXCEPT for the following which appears on the
                 front of the page: Account Number, Maturity                •   You may make cash withdrawals from available funds
                 Date, Current Term, Current Balance, Current                   only. See page 34 for our “Funds Availability Policy.”
                 Interest Rate, Next Maturity Date*                         Chase Debit Cards:
             • Refer to pages 17 and 24 for terms and conditions            •   Customers using blink or PayPass (tap and go) when
                 of your new Certificate of Deposit with Chase.                 making purchases with their debit card should not
                 *Disregard if you have a WaMu Retirement                       enter their PIN. If prompted for a PIN, ask the mer-
                  Certificate of Deposit with a term of less than               chant to swipe your card.
                  one year. If your current term is less than 1 year,
                  your Retirement CD will renew at a 12-month               •   If you currently participate in the $0.03 cash back
                  term.                                                         program, a final pay-out will be sent by the end of
                                                                                May 2009. If you wish to continue to earn rewards
         •   If you received a CD Renewal Notice from WaMu
                                                                                on your debit card purchases, please visit your
             AND a Maturity and Automatic Renewal Notice
                                                                                branch beginning May 26, 2009, to learn about the
             from Chase, please disregard the notice from WaMu.
                                                                                wide variety of debit card reward programs available.
             Terms and conditions of your renewing Certificate
             of Deposit are contained in the Chase notice and on            •   After May 26, 2009, you can link up to two Chase
             pages 17and 24 .                                                   credit cards to make payments or obtain your credit
         •   If you received a CD Maturity Notice from WaMu for                 card balance.
             your Savings for Success Certificate of Deposit                Change in MasterCard® Gold Debit Card Benefits
             maturing on or after May 22, 2009, please disregard            Package Disclosure:
             it and refer to page 14 for the new terms of your
             account.                                                         Effective May 22, 2009, the benefits associated with
                                                                            existing WaMu Gold Debit MasterCard® and Chase
         Retirement Certificate of Deposit:                                 Debit Cards will no longer include MasterAssist Travel
         •   At maturity, your Retirement CD will automatically             Assistance, Purchase Assurance, Extended Warranty,
             renew for the same or nearest available term at the            or Price Protection. MasterCard® Gold Debit Card
             then current interest rate. Available terms range              benefits will continue to include Zero Liability and
             from 1 to 10 years. If your current term is less than          MasterCard® Global Service.
             1 year, your Retirement CD will renew at a 12-month
             term.


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         Change in MasterCard® Platinum Debit Card Benefits
         Package Disclosure:
           Effective May 22, 2009, the benefits associated
         with existing WaMu Platinum Debit MasterCard and
         Chase Debit Cards will no longer include Hotel/Motel
         Burglary, Lost or Damaged Luggage Coverage, or
         Baggage Delay Coverage, MasterCard Global Service,
         MasterCard Travel Assistance, Purchase Assurance, and
         Extended Warranty.




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        SECTION II
        Account Rules and Regulations
        Effective for all accounts opened prior to May 22, 2009


        Deposit Account Agreement
        This agreement governs personal deposit accounts identified in this Deposit Account Agreement at JPMorgan
        Chase Bank, N.A. (the “Agreement”). By signing a services application, deposit account signature card, or by
        otherwise opening or maintaining a checking, savings or certificate of deposit (including retirement certificates
        of deposit) account with us, you accept and agree to be bound by the terms and conditions of this Agreement.
        However, if your account is maintained with a business unit of the Bank that provides you a different deposit
        agreement, or if you contract for services that require your consent to a different deposit agreement, your account
        will be governed by that agreement.

        As used in this Agreement, “we,” “us,” “our” and the “Bank” mean JPMorgan Chase Bank, N.A. Your “Account”
        means each deposit account you have with us that is governed by this Agreement. “You” or “your” means each
        person or entity in whose name the Account at the Bank is maintained or who exercises an ownership interest
        therein, as well as any assignee or successor in interest to the Account. Your “State” means the U.S. state where
        you opened your account, or the state where you reside if you opened your Account by mail, internet, or other
        remote means and you reside in a state where we have branch offices.




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        Personal Account Products and Services
                                          All our checking accounts feature:
                                          • Free Chase OnlineSM Banking
                                          • Free Account Alerts
                                          • Free online check images
                                          • Free online statements
                                          • Access to more than 14,000 Chase and WaMu ATMs
                                            nationwide
                                          • 24/7 access to your account information
                                          • Free Chase Debit Card

                                          Except as noted, each checking account:
                                          • Is available only to individuals or unincorporated non-business
                                             associations.
                                          • Provides monthly statements.
                                             – Image Statement is a new option available to you. An Image
                                               Statement is where we return images of the front of your cancelled
                                               checks with your statement. Fees may apply if you elect this option.

                                          See page 19 for Additional Banking Services and Fees applicable to your
                                          account regardless of account balance.


                                           (Formerly Known As: WaMu Free Checking)
         Chase Free Extra
         Checking

        MONTHLY SERVICE FEE               No monthly Service Fee.

        STATEMENT OPTIONS                 • Check Safekeeping, Image Statement, and paperless statements
                                            (available on Chase.com): No Fee

        INTEREST                          None

        BENEFITS                          • No fee for money orders, cashier’s checks and travelers checks.
                                          • No Chase fee for non-Chase ATM withdrawals.9
                                          • No fee for Domestic Outgoing or Foreign Outgoing Wire Transfers.
                                          • You will continue to receive your discounted or free check orders when
                                            ordered from us.
                                          • Upon request, one Insufficient Funds/Returned Item Fee will be
                                            refunded annually (with no carry-over). The refund will no longer
                                            be automatic.

        OTHER CHANGES                     • $0.03 Cash Back debit rewards program is discontinued. A final
                                            pay-out will be sent by the end of May 2009.

                                          • We may change your account to a Chase Better Banking® Checking
                                            account when you do not have at least one customer initiated
                                            transaction over the past six monthly statement cycles.



        Changes to your account appear in bold print.
                                                           10
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                                           (Formerly Known As: Free Checking or Gold Checking)
            Chase Free Classic
            Checking

        MONTHLY SERVICE FEE               No monthly Service Fee.

        STATEMENT OPTIONS                 • Check Safekeeping, Image Statement, and paperless statements
                                            (available on Chase.com): No Fee.

        INTEREST                          None

        BENEFITS                          No fee for money orders, cashier’s checks and travelers checks.

        OTHER CHANGES                     • Gold Checking Account – Gold Checking benefits will be known as
                                            Plus Package with a $7 monthly fee. No additional monthly Service
                                            Fees apply. See page 13.

                                          • We may change your account to a Chase Better Banking® Checking
                                            account when you do not have at least one customer initiated
                                            transaction over the past six monthly statement cycles.


                                          (Formerly Known As: Interest Checking or
            Chase Better Banking®          Perfect Value Checking)
            Checking

        MONTHLY SERVICE FEE               No Service Fee in any statement period in which you:
                                          • Maintain a minimum ledger balance of $1,500 or more in this
                                            account; or
                                          • Keep an average ledger balance of $5,000 or more in this account
                                            or a combination of this account and any qualifying deposit,2
                                            credit3 or investment4 accounts linked with this account.
                                          Otherwise, $12.

        STATEMENT OPTIONS                 • Check Safekeeping and paperless statements (available on Chase.com):
                                            No Fee.
                                          • Image/Check Enclosure Statement: $3 monthly fee1 for any
                                            accounts signing up for this option after May 22, 2009.

        INTEREST                          None

        BENEFITS                          • No monthly Service Fee on linked Chase Money Market Savings or
                                            other qualifying5 saving accounts.
                                          • No fee for money orders, cashier’s checks and travelers checks.
                                          • Classic Benefits are available to Chase Better Banking® Checking
                                            account customers age 55 years or older. Joint accounts require only
                                            one owner to be 55 years or older.
        .                                   • Free Chase Traditional checks or a 50% discount on other personal
                                              style checks.
                                            • 10% discount on a safe deposit box.

        OTHER CHANGES                     • Perfect Value Checking – The Chase fee for Non-Chase ATM
                                            transactions will be waived at this time.9



        Changes to your account appear in bold print.
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                                          (Formerly Known As: WaMu Interest Checking or
         Chase Premier                     Platinum Checking)
         CheckingSM

        MONTHLY SERVICE FEE               No Service Fee in any statement period in which you:
                                          • Keep an average ledger balance of $15,000 or more in this account
                                            or a combination of this account and up to two qualifying6 personal
                                            checking accounts and any other qualifying deposit,2 credit3 or
                                            investment4 accounts linked with this account.
                                          Otherwise, $20.

        STATEMENT OPTIONS                 • Check Safekeeping, Image Statement, Check Enclosure and paperless
                                            statements (available on Chase.com): No Fee.

        INTEREST                          Variable; based on daily collected balance.

        BENEFITS                          • Free Premier style checks8 or a 50% discount on other personal style
                                             checks.
                                          • No Chase fee for the first four non-Chase ATM Inquiries, Transfers
                                             and Withdrawals9 each statement period.
                                          • Free Safe Deposit Box.10
                                          • No fee for money orders, cashier’s checks, travelers checks and gift cards.
                                          Link additional accounts with this checking account to receive:
                                          • No monthly Service Fee on up to two additional Chase Premier
                                             Checking or other qualifying6 checking accounts.
                                          • No monthly Service Fee on linked Chase Plus Savings or other
                                             qualifying7 saving accounts.
                                          • No monthly Service Fee on a BusinessClassicSM Checking account.

        OTHER CHANGES                     • WaMu Interest Checking – the following will no longer be offered:
                                            • Monthly Balance Build sweep to savings accounts
                                            • No-fee incoming and outgoing wire transfers
                                            • Monthly waiver of one Overdraft Protection Transfer fee
                                          • Platinum Checking – Overdraft Protection Transfer fee will no
                                            longer be waived.




        Changes to your account appear in bold print.
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                                          (Formerly Known As: Platinum Checking)
         Chase Premier Platinum
         CheckingSM

        MONTHLY SERVICE FEE               No Service Fee in any statement period in which you:
                                          • Keep an average ledger balance of $75,000 or more in this account
                                            or a combination of this account and up to two qualifying11
                                            personal checking accounts and any other qualifying deposit2
                                            or investment4 accounts linked with this account.
                                          Otherwise, $25.

        STATEMENT OPTIONS                 • Check Safekeeping, Image Statement, Check Enclosure and paperless
                                            statements (available on Chase.com): No Fee.

        INTEREST                          Variable; based on daily collected balance.

        BENEFITS                          • Free Personal style checks.
                                          • No Chase fee for non-Chase ATM Inquiries, Transfers and
                                             Withdrawals.9
                                          • No Overdraft Protection Transfer Fee.
                                          • No Incoming Wire Transfer Fee.
                                          • No fee for money orders, cashier’s checks, travelers checks and gift cards.
                                          • No Stop Payment Fee.
                                          • Free Safe Deposit Box.10
                                          • Free ACH online external transfers.
                                          • Optional sweep available to tax-advantaged money market mutual
                                             fund.4
                                          Link additional accounts with this checking account to receive:
                                          • No monthly Service Fee on up to two additional Chase Premier
                                             Platinum Checking or other qualifying11 checking accounts.
                                          • No monthly Service Fee on linked Chase Plus Savings or other
                                             qualifying7 saving accounts.
                                          • No monthly Service Fee on a BusinessClassicSM Checking account.



         Plus Package
        BENEFITS AND FEATURES             • For questions on program benefits call 1-800-251-2311.
                                          • No fee for money orders, cashier’s checks, and standard traveler’s
                                            checks.
                                          • $5 discount personal checks (one box per order).
                                          • $10,000 Accidental Death Insurance.
                                          • Payment Card Protection (register all credit, ATM and debit cards for
                                            liability protection against loss or theft, when reported within 24 hours).
                                          • Rx AdvantageTM Prescription Drug Program and Coast To Coast Vision
                                            Plan – preferred pricing (not insurance) at participating merchants.
                                          • Shopping discounts using the Shopping Service, Savers Club® and
                                            Bonus Travel .



        Changes to your account appear in bold print.
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                                          (Formerly Known As: Statement Savings, School Savings,
         Chase SavingsSM                   Individual Development Account (IDA), Passbook Savings,
                                           Quarterly Statement Savings, WaMu Direct Savings,
                                           Success Sweep Account or Secured Card Savings)
        MONTHLY SERVICE FEE               No Service Fee in any statement period in which you:
                                          • Maintain a daily ledger balance of $300 or more in this account; or
                                          • Are under 18 years of age; or
                                          • Have a linked Chase Better Banking® Checking, Chase Premier
                                            Checking or Chase Premier Platinum Checking account.12
                                          Otherwise, $5.

        SAVINGS WITHDRAWAL                Savings Withdrawal Limit fee: $12/transfer over limit.13
        LIMIT FEE

        INTEREST                          Variable; based on daily collected balance and credited and compounded
                                          monthly.

        STATEMENT PERIOD                  Quarterly (monthly with Electronic Funds Transfer activity).

        OTHER CHANGES                     Statement Savings – Automatic Savings Plan (ASP) transfers will no
                                          longer waive monthly Service Fee after January 1, 2010.
                                          Passbook Savings – Will begin receiving quarterly statements
                                          (monthly with Electronic Funds Transfer activity).
                                          School Savings and Quarterly Statement Savings – Service Fee is now
                                          charged monthly.
                                          SecuredCard Savings – Monthly Service Fee, Interest and Statement
                                          Period are different as noted above.
                                          IDA, Success Sweep Account and WaMu Direct Savings – Monthly
                                          Service Fee waived.


                                          (Formerly Known As: Guaranteed Great Rate
         Chase Money Market                Money Market, Money Market Deposit Account
         SavingsSM
                                           or Savings for Success)
        MONTHLY SERVICE FEE               No Service Fee in any statement period in which you:
                                          • Maintain a minimum ledger balance of $1,500 or more in this
                                            account; or
                                          • Have a linked Chase Better Banking® Checking, Chase Premier
                                            Checking or Chase Premier Platinum Checking account.12
                                          Otherwise, $12.

        SAVINGS WITHDRAWAL                Savings Withdrawal Limit fee: $12/transfer over limit.13
        LIMIT FEE

        INTEREST                          • Variable; based on daily collected balance.
                                          • Higher rate when linked to any active qualifying14 personal
                                            checking account.

        STATEMENT PERIOD                  Monthly

        OTHER                             Limited check access. Check Safekeeping Required.

        Changes to your account appear in bold print.
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        OTHER CHANGES                     Savings for Success only
                                          • Same rate until maturity, at which time interest features noted
                                            above will apply.
                                          • Monthly Service Fee will be waived.
                                          • Accounts closed prior to May 22, 2009, will become a closed
                                            Chase CD.
                                          • At maturity the balance will remain in this Chase Money Market
                                            Savings account and your monthly Automatic Savings Plan (ASP)
                                            transfer will continue.


                                          (Formerly Known As: Money Market Savings)
         Chase Plus SavingsSM
        MONTHLY SERVICE FEE               No Service Fee in any statement period in which you:
                                          • Maintain a daily ledger balance of $15,000 or more in this account;
                                            or
                                          • Have a linked Chase Premier or Chase Premier Platinum Checking
                                            account.12
                                          Otherwise, $20.

        SAVINGS WITHDRAWAL                Savings Withdrawal Limit fee: $12/transfer over limit.13
        LIMIT FEE

        INTEREST                          • Variable; based on daily collected balance and compounded monthly.
                                          • Higher rate when linked to any active qualifying15 personal checking
                                            account.

        STATEMENT PERIOD                  Monthly

        OTHER                             • No Chase fee for non-Chase ATM Inquiries, Transfers and
                                            Withdrawals.9
                                          • Check Safekeeping is required if currently receiving checks.


                                          (Formerly Known As: Online Savings)
         Chase Premier SavingsSM

        MONTHLY SERVICE FEE               Monthly Service Fee will be waived at this time.

        SAVINGS WITHDRAWAL                Savings Withdrawal Limit fee: $12/transfer over limit.13
        LIMIT FEE

        INTEREST                          • Variable; based on daily collected balance.
                                          • Higher rate when linked to any active qualifying15 personal checking
                                            account.

        STATEMENT PERIOD                  Monthly




        Changes to your account appear in bold print.
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                                 45
                                          (Formerly Known As: Platinum Savings or Money Market
         Chase Premier                     Savings)
         Platinum SavingsSM

        MONTHLY SERVICE FEE               No Service Fee in any statement period in which you:
                                          • Maintain a daily ledger balance of $25,000 or more in this account;
                                            or
                                          • Have a linked Chase Premier or Chase Premier Platinum Checking
                                            account.12
                                          Otherwise, $20.

        SAVINGS WITHDRAWAL                Savings Withdrawal Limit fee: $12/transfer over limit.13
        LIMIT FEE

        INTEREST                          • Variable; based on daily collected balance.
                                          • Money Market Savings – interest compounds monthly.
                                          • Higher rate when linked to any active qualifying15 personal checking
                                            account.

        STATEMENT PERIOD                  Monthly

        OTHER CHANGES                     No Chase fee for non-Chase ATM Inquiries, Transfers and
                                          Withdrawals.9
                                          WaMu Platinum Savings only
                                          • Monthly Service Fee will be waived for three months.
                                          • Platinum Relationship Bonus program no longer available. Ask us
                                            about Relationship interest rates.


                                          (Formerly Known As: Retirement Money Market
         Chase Retirement                  Deposit Account, Retirement Savings or Retirement
         Money Market Account
                                           Settlement Account)
        INTEREST                          Variable; based on ledger balance.

        STATEMENT PERIOD                  Balance information of linked Retirement Money Market Accounts
                                          appears on monthly checking account statement. Transaction detail
                                          provided on a separate quarterly or annual retirement plan statement
                                          (as applicable).

        RETIREMENT PLAN FEES              See Retirement Plan Fees on next page.

        OTHER                             Additional deposits can be made at any time to Retirement Money Market
                                          Account.




        Changes to your account appear in bold print.
                                                           16
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                                             (Formerly Known As: WaMu Certificate of Deposit,
         Chase Certificates                   Promotional Certificate of Deposit, Online CD, Liquid
         of Deposit and
                                              Certificate of Deposit, Indexed Certificate of Deposit,
         Chase Retirement
         Certificates of Deposit              Jumbo Certificate of Deposit, Money Matrix Certificate
                                              of Deposit, Special Certificate of Deposit, Retirement
                                              Certificate of Deposit, Retirement Money Matrix
                                              Certificate of Deposit, Retirement Indexed Certificate
                                              of Deposit or IRA Special Certificate of Deposit)
        INTEREST                          • Fixed
                                          • Earn higher interest rates on your CDs or Retirement CDs at your
                                            next renewal when linked to a Chase personal checking account.

        STATEMENT PERIOD                  Balance information of linked CDs and Retirement CDs appears on
                                          monthly checking account statement. Transaction detail provided on
                                          a separate monthly, quarterly or annual retirement plan statement
                                          (as applicable).

        RETIREMENT PLAN FEES              See Retirement Plan Fees below.

        OTHER                             Additional deposits can be made to CDs and Retirement CDs at maturity
                                          or during the 10-day grace period.




        RETIREMENT PLAN FEES              IRA Annual Fee
                                          A fee of $30 will be charged annually on May 1 (or the first business
                                          day in May) for each Traditional IRA, Traditional Rollover IRA, Roth IRA,
                                          Conversion IRA, SEP or SARSEP (“IRA”) plan you own unless at least one
                                          of the following applies to such plan as of April 30 (or last business day
                                          in April):
                                          • you maintain a Chase checking account in the same market as the IRA
                                          • a contribution of $1,000 or more is made to the IRA during the last
                                             12 months ending April 30 (or last business day in April)
                                          • you are a Traditional IRA, Traditional Rollover IRA, SEP or SARSEP
                                             participant age 701⁄2 or older and are subject to taking Required
                                             Minimum Distributions from your plan
                                          • the balance in the IRA is $10,000 or more (including deposits and
                                             investments)
                                          Trustee-to-Trustee Transfer Fee
                                          The fee for a Trustee-to-Trustee Transfer to another institution via a
                                          check or ACH is $50. If the transfer amount requested is less than 100%
                                          of the balance of your plan, the applicable fee will be deducted from
                                          your account(s). If the transfer amount requested is equal to 100% of
                                          the balance of your plan, the applicable fee will be deducted from the
                                          balance before the transfer is made.




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                                                   FOOTNOTES
        1 A $5,000 monthly average ledger balance in this             6 Qualifying personal checking accounts for Chase
          account will waive this fee.                                   Premier Checking exclude Chase Premier Platinum
        2 Qualifying deposit accounts for Chase Better                   Checking, Chase Premier Platinum Asset
          Banking Checking, Chase Premier Checking and                   Management Account, Chase Access Checking
          Chase Premier Platinum Checking include the                    and accounts opened with Private Wealth
          following: Personal savings accounts, CDs, certain             Management.
          Retirement CDs, or certain Chase Retirement                 7 Qualifying savings accounts for Chase Premier
          Money Market Accounts (balances in Chase Money                 Checking and Chase Premier Platinum Checking
          Purchase Pension and Profit Sharing plans do not               include the following: Chase Plus Savings, Chase
          qualify).                                                      Money Market Savings, Chase Savings, Chase
        3 Qualifying credit accounts for Chase Better                    Premier Savings and Chase Premier Platinum
          Banking Checking and Chase Premier Checking                    Savings.
          include the following: Outstanding balances in              8 Premier Checks include Select (Exclusive),
          Chase first mortgage accounts (with servicing                  Traditional, Guideline and Chicago Skyline.
          retained by Chase; must be in good standing), lines         9 Usage fee may be charged by the institution that
          of credit (including credit card) and installment              owns the ATM. Additional fees may apply when
          loans (lines of credit/loans must be in good                   using an ATM outside of the United States,
          standing).                                                     Puerto Rico or the U.S. Virgin Islands.
        4 Securities (including mutual funds and variable             10 3” x 5” box or smaller for no annual fee; discount
          annuities) and investment advisory services are                on other sizes, subject to availability.
          offered through Chase Investment Services                   11 Qualifying personal checking accounts for Chase
          Corp. (CISC) or affiliated broker/dealers. Annuities           Premier Platinum Checking exclude Chase Premier
          and insurance products are provided by various                 Platinum Asset Management Account and Chase
          insurance companies and offered through Chase                  Access Checking.
          Insurance Agency, Inc. (CIA), a licensed insurance
          agency, doing business as Chase Insurance Agency            12 May also be linked to a Chase Premier Platinum
          Services, Inc. in Florida. CISC, a member of                   Asset Management Account and accounts opened
          FINRA/SIPC, and CIA are affiliates of JPMorgan                 with Private Wealth Management to avoid the
          Chase Bank, N.A. Products not available in all                 Monthly Service Fee.
          states.                                                     13 Federal law limits the number of transactions
              Investment and insurance products are:                     per month on any savings account. See the
                                                                         Withdrawal Limitations on Your Savings Account
                       NOT A DEPOSIT                                     and Withdrawal Procedures and Limitations
                                                                         sections of the Account Rules and Regulations
                     NOT FDIC INSURED                                    booklet for details.
                    NOT INSURED BY ANY                                14 Qualifying active checking accounts for Chase
                FEDERAL GOVERNMENT AGENCY                                Money Market Savings include Chase Better
                NOT GUARANTEED BY THE BANK                               Banking Checking, Chase Premier Checking, Chase
                      MAY LOSE VALUE                                     Premier Platinum Checking, Chase Premier
                                                                         Platinum Asset Management Account and
          Qualifying investment accounts for Chase Better                personal checking accounts opened with Private
          Banking Checking, Chase Premier Checking and                   Wealth Management that have at least one
          Chase Premier Platinum Checking include the                    customer initiated transaction in a monthly
          following: Chase Investment Services Corp.                     statement cycle. The higher interest rates will be
          investment accounts (last investment statement                 applied to your savings accounts throughout the
          balance, excluding balances in Chase Money                     next statement period.
          Purchase Pension and Profit Sharing Plans),                 15 Qualifying active checking accounts include
          JPMorgan Funds accounts (prior end of month                    Chase Premier Checking, Chase Premier Platinum
          balances), annuity products (annuities made                    Checking, Chase Premier Platinum Asset
          available through Chase Insurance Agency, Inc.                 Management Account and personal checking
          (CIA) and Chase Insurance Agency Services, Inc.),              accounts opened with Private Wealth
          and personal trust accounts (last business day of              Management that have at least one customer
          prior month).                                                  initiated transaction in a monthly statement cycle.
        5 Qualifying savings accounts for Chase Better Banking           The higher interest rates will be applied to your
          Checking include the following: Chase Money Market             savings accounts throughout the next statement
          Savings, Chase Savings, Chase Premier Savings and              period.
          Chase Premier Platinum Savings.

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                                                                           Statement Services and Copies
        Additional Banking                                                 Snapshot Statement (without checks)      $ 6.00/statement
                                                                           Statement Copy                           $ 6.00/statement
        Services and Fees For                                              Item Copy                                $ 5.00/item
                                                                             (3 copies per month at no charge
        Personal Accounts                                                    with Check Safekeeping or
                                                                             Image Statement)
        Changes are noted in italics.                                      Item Copy–Urgent                         $ 15.00/item

        ATM and Debit Card Fees                                            Wire Transfers
        Non-Chase ATM                                                      Domestic Incoming1                       $ 15.00/item
        Inquiry1                              $ 2.00/inquiry               Foreign Incoming1                        $ 15.00/item
        Transfer1                             $ 2.00/transfer              Domestic Outgoing                        $ 25.00/item
        Withdrawal1                                                        Domestic Outgoing via Chase.com          $ 20.00/item
          At a non-Chase ATM within the       $ 2.00/withdrawal            Foreign Outgoing or Remittance Fee3      $ 45.00/item
          United States, Puerto Rico and                                   Foreign Outgoing via Chase.com           $ 40.00/item
          the US Virgin Islands                                            Immediate Notification                   $ 3.00/item
          At an ATM outside the               $3.00/withdrawal
          United States, Puerto Rico and                                   Miscellaneous
          the US Virgin Islands                                            Collections
        Specialty Debit Card Annual Fees                                     Bond Coupons                           $ 5.00/envelope
          United Mileage Plus®                $ 25.00/checking               Domestic                               $ 25.00/item
            Debit Card                        account                        Foreign                                $ 45.00/item
          United Mileage Plus®                $ 65.00/checking             Account Closing                          $ 25.00/account
            Preferred Debit Card              account                        (within 90 days of account opening)
          Chase Leisure Rewards®              $ 25.00/per card             Account Reconciliation                   $ 25.00/hour
            Debit Card                                                     Account Research                         $ 25.00/hour
          Chase Continental Airlines          $ 25.00/checking             Check or Supply Order                    varies - depends on
            Debit Card                        account                        (checks, withdrawal slips,             document ordered
          Chase Continental Airlines          $ 65.00/checking               deposit slips)
            Preferred Debit Card              account                      Legal Process
          Chase Continental Airlines          $ 25.00/debit                  (garnishment, tax levy, etc.)          Up to $100.00/order
            Mileage Cap Removal Fee           card; or                     Charged Off Processing                   $ 30.00/account
                                              $ 65.00/preferred
                                              debit card                   Online Banking Services
        Card Replacement                      $ 5.00/card                  Failed Payment Fee                       $ 6.00/request
        Non-ATM Cash Fee2                     3% of the dollar             Online Overnight CheckSM Service Fee     $ 14.99/check
                                              amount of the                Financial Management Software4 –         $ 9.95/month
                                              transaction OR $5.00,          Service Fee
                                              whichever is greater         ACH (Online Transfer Service Fee1)       $ 3.00/request

        Exchange Rate Adjustment                                           1   These fees may be waived with certain account types.
        For card purchases, non-ATM cash      3% of withdrawal                 See Personal Account Products for detail.
        transactions and ATM withdrawals      amount after                 2 Obtaining
        in currency other than U.S. Dollars   conversion to                               cash with your Chase Debit Card without a PIN
                                              U.S. dollars                     at participating locations, such as bank branch tellers.
                                                                           3 No    Remittance Fee for three Rapid Cash® transfers of
        Insufficient Funds, Returned Items, and Stop Payments                  $1,500 or less per month.
        Insufficient Funds and Returned       $ 34.00/item or              4 Personal
        Item Fees                             withdrawal request                        Financial Manager is $6.95/month for Chase
                                                                               Premier Platinum Checking. This fee is waived for Chase
        Overdraft Protection Transfer Fee1    $ 10.00/transfer                 Premier Platinum Asset Management Accounts.
        Deposited Item Returned               $ 10.00/item
        (or cashed items returned)
        Stop payment1                         $ 25.00/item




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                                      Personal Accounts
        For accounts opening after March 31, 2009, and before May 22, 2009.


         Name of account at            Name of account at               Features of your account
         Washington Mutual             Chase, as of May 22, 2009

         WaMu Free Checking            Chase Free Extra Checking        Page 10

         Platinum Checking             Chase Premier CheckingSM         Page 12

         WaMu Interest                 Chase Premier CheckingSM         Page 12
         Checking


         • Statement Savings           Chase SavingsSM                  Page 14
         • School Savings

         Guaranteed Great              Chase Money Market               Page 14
         Rate Money Market             SavingsSM
         Account

         Money Market Savings          Chase Plus SavingsSM             Page 15

         Online Savings                Chase Premier SavingsSM          Page 15

         • Retirement Money            Chase Retirement                 Page 16
             Market Deposit            Money Market Account
             Account
         •   Retirement Savings
         •   Retirement
             Settlement Account

         • Certificate of Deposit      Chase Certificate of             Page 17
         • Jumbo Certificate of        Deposit/Chase Retirement
             Deposit                   Certificate of Deposit
         • Promotional Certificate
             of Deposit
         • Retirement
             Certificate of Deposit




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                                                                           created checks are created when an account holder
        General Account Terms                                              authorizes a payee to draw a check on the account,
        and Conditions                                                     but instead of the account holder's actual signature,
                                                                           the check identifies that the account holder authorized
        Deposits or Cashed Items:                                          the check.
           Checks, drafts and other negotiable instruments,                    We may rely on the account number on any deposit
        including substitute checks (see the section of this               record received, even if the record identifies a party dif-
        booklet entitled Check 21 – Substitute Check and Your              ferent from the entity identified by name in the record,
        Rights) (collectively “checks”) deposited to your                  and we have no duty to detect any such inconsistency
        Account or cashed, automated clearinghouse (“ACH”)                 in identification.
        entries and all other types of external and book-entry                 We may return or refuse to accept all or any part of
        funds transfers (checks and funds transfers collectively           a deposit or credit to your Account at any time and will
        referred to herein as “items”), may be charged back                not be liable to you for doing so even if such action
        against the Account (or an Account for split deposits)             causes outstanding items to be dishonored and
        or any other Account of yours at the Bank if we are                returned. Returned or refused deposits (or the legal equiv-
        informed that the item is being or has been returned               alent of the deposited item) will be returned to you. In
        unpaid (or, for checks drawn on other accounts with us,            addition, you will be solely responsible for any loss or lia-
        the check is dishonored by us for any reason), without             bility we sustain in connection with the deposit of sub-
        regard to whether such return or dishonor is timely.               stitute checks.
        When a deposited or cashed item is returned, you will be               We will not give you next day notice of receipt of an
        charged a Deposited Item Returned fee. We may charge               electronic deposit to your Account but will provide such
        your Account whether or not the check is returned to               notice to you on your next periodic Account statement.
        us, and whether or not we can return the item or a copy            You may call us to confirm an ACH or wire transfer
        to you. Even if we verify a deposited or cashed check              deposit.
        and tell you that the check has been paid, that will not
        release your liability as an endorser. This right shall            Credits for Deposits:
        extend to any check or other item deposited into your                 A receipt may be provided or made available upon
        Account or cashed, that is finally paid and then is                request for all deposits to your Account (except for
        returned because a claim is made that the check or other           remote deposits, e.g., lockbox, night depository services
        item was altered, forged, unauthorized, has a missing              and certain funds transfers). However, the amount on
        signature or should not have been paid for any reason.             your deposit receipt is based solely on your deposit
        In lieu of charging your Account we may withhold an                ticket. Funds from your deposits to your Account may
        amount equal to such check or other item from your                 not be made immediately available. We shall not be
        Account until a final determination of the validity of such        construed to have received for deposit checks sent by
        claim has been made. We have no duty to return a                   mail or placed in the night depository until we have
        check that has been charged back to an Account if that             either received actual delivery from the U.S. Postal
        Account has become overdrawn. We are not required                  Service or have removed the checks from the deposi-
        to give you next-day notice if a deposited or cashed               tory. Checks placed in such depository will be removed
        item is dishonored.                                                not later than the next business day. All deposits made
           Any check deposited to your Account that lacks an               by mail and addressed to a Bank location without using
        endorsement may be, or may be deemed to be,                        a specific branch name and street address will be con-
        endorsed by us on your behalf. With respect to any such            sidered received by the Bank’s National Bank-By-Mail
        check, our rights and your liabilities shall be determined         facility in Louisville, KY as of the date such deposit is
        as though you actually endorsed and deposited the item.            received by such facility. For checking accounts, funds
        Further, any check deposited to your Account that bears            will be made available according to Federal Reserve
        your stamped or facsimile endorsement shall be deemed              Regulation CC and our Funds Availability Policy. Credits
        to bear your actual endorsement whether such                       for all deposits are subject to final verification and, after
        endorsement was affixed by you or by someone hav-                  review, we may make adjustments to your Account for
        ing no authority to supply your endorsement. You agree             any errors, including any errors appearing on your
        to assume responsibility for and to indemnify us for any           deposit ticket, but have no obligation to do so for dis-
        loss we may incur as a result of your failure to comply            crepancies under ten dollars. In addition, the availabil-
        with the endorsement standards set forth in our                    ity of funds for withdrawal does not mean that the
        Endorsement Standards section of this Agreement.                   deposited check or other item is “good,” has “cleared”
        If you deposit a remotely created check, you                       or has been paid by the paying bank, or that the item
        guarantee that the check was authorized by the account             will not be returned unpaid and your Account subse-
        holder for payment in the amount shown. Remotely                   quently debited, notwithstanding the passage of any
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        period of time or any representation or belief to                     Federal regulations impose limitations on transfers
        the contrary. We may accept credits to your Account                from savings accounts and we are required to monitor
        that have been originated by third parties (e.g., ACH              your compliance with them. You may make no more
        credits, wire transfers). However, we may reverse any              than six (6) preauthorized withdrawals (including, but
        credit to your account that the originator of such                 not limited to, withdrawals made by ACH, telephone,
        deposit has informed us was in error, or was intended              Internet, or wire) monthly, no more than three (3) of
        for another account, without investigating whether                 which may be by check or similar order payable to a
        such credit was not properly payable to you.                       third party, from your savings account. These limita-
           We need not accept for deposit items drawn on a                 tions do not apply to withdrawals made through
        non-U.S. bank or items payable in a foreign currency               Automated Teller Machines, over-the-counter, mail or
        and may instead accept such items on a collection                  messenger. We will impose a Savings Withdrawal Limit
        basis, even after we have taken physical possession of             Fee for each transfer that exceeds these limits. In addi-
        such items. If accepted on a collection basis, we will not         tion this transfer may also invoke an Additional
        be obligated to credit your account for such items until           Withdrawal fee for Chase Savings accounts for having
        we have received final payment. The actual credit for              exceeded applicable withdrawal limits. If you continue
        items payable in a foreign currency will be at the                 to exceed any transfer limits on your Account after we
        exchange rate in effect at the time of final collection            have notified you of any such transfer violation, we will
        in U.S. dollars. Regardless of whether such items are              close your Account and transfer the funds to another
        accepted for deposit or on a collection basis, our Funds           deposit account type selected by us for which you
        Availability Policy will not apply.                                are eligible or eliminate your Account’s transfer and
                                                                           check privileges.
        Collection of Deposits:                                               For all savings accounts, interest bearing checking
            You agree that we act only as your collecting agent            accounts and holding sub-accounts, we reserve the
        in receiving items for deposit or collection and assume            right to require seven (7) days prior written notice of
        no responsibility beyond reasonable care. We will use              withdrawal. In addition, any personal checking account
        reasonable care in the selection of collecting agents but          for which a one time promotional payment to or for the
        will not be liable in case of their failure or negligence          account is made by us as a premium or other consider-
        or for losses in transit.                                          ation upon account opening will cause such account to
            You agree that we, and each of our correspondents,             be considered an interest bearing checking account for
        may send checks subject to collection, directly or                 this Agreement (and, for statutory purposes, a NOW
                                                                           account) and subject to the potential seven-day with-
        indirectly, to any bank, depository, maker or drawee in
                                                                           drawal notice requirement, even though such account
        accordance with our usual custom and may accept
                                                                           may not accrue interest on a periodic basis.
        checks, drafts or credits as conditional payment.
            You agree to use reasonable care to assist us in locat-        Payment and Deposit of Checks:
        ing or obtaining replacements of items lost while in our               You agree not to issue incomplete, postdate or condi-
        possession. We may agree with other banks and clear-               tional checks or present them for deposit to your
        ing houses to vary procedures regarding the collection             Account. Also, we have no duty to discover, comply
        or return of items, and deadlines to the extent permit-            with or have any liability for accepting any incomplete,
        ted by applicable law.                                             postdated, conditional checks or checks more than six
                                                                           months old, even if you have provided us with notice
        Withdrawal Procedures and Limitations:                             describing this check. We may charge a person who
           In accordance with the features of your Account,                cashes your check a fee, or refuse to cash your check, if
        you agree that we may charge your Account for any                  that person is not a deposit or loan customer of ours.
        withdrawal or transfer that you make or authorize                      We have no duty to honor and we may disregard any
        another to make. We may, as a condition of withdrawal,             information on a check other than the identification of
        require you to provide us with identification or infor-            the paying bank and payee, the amount (we may rely
        mation acceptable to us and/or your signature on                   upon either the numeric amount or the amount in words
        certain withdrawal documents signed in the presence                if contradictory) and any MICR encoded information,
        of our personnel. If you request to withdraw large                 and specifically have no duty to visually inspect signa-
        amounts in cash, we may place reasonable restrictions              tures. We may construe as “or” any symbol, mark or word
        on the time and method of your withdrawal and may                  (other than the word “and”) used as a connective, or may
        require that you sign a document releasing us from any             imply an “or” in the absence of any connective, on the
        liability in case you are robbed or assaulted. We may              payee line of any check containing multiple payees. In
        refuse the withdrawal if you do not agree with these               addition, for both personal and business Accounts, we
        conditions.                                                        may debit an Account based on a single signature, and

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        a multiple-signature requirement is for the customer’s             unauthorized use, or your failure to issue checks in a
        internal use only, notwithstanding any communication               manner so as to prevent unauthorized completion, alter-
        to us to the contrary.                                             ation or addition. You agree that we may refuse to
            You agree that if you utilize an automatic check writ-         accept for deposit or to process any check or other item
        ing service which operates through the use of a personal           that is presented to it in a form that cannot be processed
        computer, employ the use of a facsimile signature or do            or photographed using equipment that we regularly use
        not otherwise provide your personal signature on a                 in our normal operations.
        check, you agree that you shall have the sole responsi-
        bility for maintaining security of any such computer,              Insufficient Funds:
        stamp or device by which your signature is affixed and                We have no obligation to pay or honor any item or
        that you shall bear the entire risk of unauthorized use            withdrawal request unless it is drawn or requested
        of any such device or of any facsimile signature that rea-         against available funds credited to your Account at the
        sonably resembles the signature you use, whether or                opening of business on the day the item is presented
        not you are negligent. You also agree that the treat-              for payment or the request is received, even if we paid
        ment of each check presented against your Account                  an item or honored a withdrawal request drawn or
        through the use of such a service and our rights and               requested against insufficient funds in the past. If we
        obligations with regard to such check will be the same             pay an item or honor your request that overdraws your
        as if the check was signed or initiated personally by you.         Account, a deposited item has been returned unpaid,
        You further agree to indemnify and hold us harmless                or for any other reason your Account has become over-
        from and against any and all loss, cost, damage, liabil-           drawn, you agree to pay the amount of the overdraft
        ity or expense (including attorney’s fees) we may suffer           together with any fee and accrued interest identified in
        or incur as a result of the unlawful use, unauthorized             this Agreement immediately, whether or not you signed
        use or misuse by any person of any such device or of               or requested the withdrawal or participated in the
        any facsimile signature that reasonably resembles the              transaction creating the overdraft.
        signature you use.                                                    You hereby authorize us to apply any subsequent
            Your Account may be debited on the day a check is              deposit to the Account against the amount of any over-
        presented by electronic or other means, or at an earlier           draft and resulting fees or charges, including any fed-
        time based on notification received by us that such                eral or state benefit payments that you choose to
        check drawn on your Account has been deposited for                 deposit in any Account (including direct deposit of
        collection at the Bank or at another financial institu-            Social Security). You understand and agree that if you
        tion. A determination of your Account balance for pur-             do not want your benefits applied in this way, you may
        poses of making a decision to dishonor a check for                 change your direct deposit instructions to the benefits
        insufficiency of available funds may be made at any                payor at any time.
        time between the receipt of such presentment or notice                Items will be posted to your Account in highest to
        and the time of return of the check, and no more than              lowest dollar amount each business day (Monday
        one such determination need be made. If the Bank dis-              through Friday, federal holidays not included). However,
        honors any check, we shall treat any subsequent rep-               certain transactions like wire transfers may be posted
        resentment the same as the original presentment in all             before others. We reserve the right to change this post-
        respects (including imposing an additional Insufficient            ing order without notice. We may assess a fee for any
        Funds or Returned Item Fee if applicable), and shall               item or withdrawal request, such as a check, in person
        have no duty to take any steps to prevent represent-               withdrawal, ATM withdrawal, or other electronic means,
        ments of such checks.                                              when there are insufficient funds in your Account based
                                                                           upon the posting method identified above, whether or
        Check and Forms Specifications/                                    not the item is paid or the request honored, or whether
        Protection of Documents:                                           or not an overdraft to your account has occurred. We may
                                                                           assess an Extended Overdraft fee for overdraft balances
           All checks, withdrawal forms, deposit slips and transfer
                                                                           that are not promptly repaid and/or charge interest for
        instructions used in connection with your Account must
                                                                           any overdraft on your Account. You agree to pay all costs
        be on forms obtained through or approved by us. You
                                                                           and expenses, including attorney’s fees, incurred by us in
        agree to maintain adequate safeguards to ensure the                the collection of any overdraft.
        authorized use of the forms you retain, and agree to
        notify us immediately if you become aware that any                 Returned Item and Insufficient Funds Fees:
        checks or other forms are lost or stolen. We are not                  It is your responsibility to manage your account to
        responsible for losses you may suffer due to improper              avoid having insufficient funds. See a banker to learn
        printing on forms not obtained through or approved by              about overdraft protection options available to you, or
        us, your failure to maintain adequate safeguards against           see the Overdraft Protection Services for specific infor-


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        mation about this service. We also offer Personalized             •   Withdrawal due to the judicial determination of legal
        Alerts to keep you informed about the balance and                     incompetence of a CD owner;
        transactions in your account.                                     •   Re-titling of a CD (excluding Retirement CD) to
                                                                              transfer ownership of funds into a living trust with-
        Specific Terms for Certificates of Deposit:
                                                                              out moving funds from the Bank and where no
            The standard minimum deposit amount to open a
                                                                              change in term or rate occurs;
        Certificate of Deposit (“CD,” which term shall include
        Retirement CDs unless otherwise identified below) is              •   Re-titling of a Retirement CD in a Coverdell
                                                                              Education Savings Account to change beneficial
        $1,000. Subsequent deposits are not permitted except
                                                                              owner without moving the funds from the Bank and
        during the ten-day grace period. By opening your CD,
                                                                              where no change in term or rate occurs;
        you have agreed to keep the funds on deposit for the
        agreed upon stated term.                                          •   Withdrawal by a Retirement CD owner who is 591⁄2
              Maturity Conditions. For automatically renewable                or older where the funds are taken as a distribution
        CDs, your CD will automatically renew for the same                    by the Retirement CD owner via cash, check, deposit
        time period as the initial term, and thereafter for suc-              or transfer to a non retirement account. Excludes
        cessive like periods of time, with an interest rate then              transfers to another financial institution. (The with-
        in effect on the renewal date for like term CD to be                  drawal will be reported to the IRS as a retirement
        applicable during such time period. This will not apply               distribution.);
        if you withdraw your funds during the ten-day grace               •   Withdrawal by a Retirement CD owner who is under
        period following the maturity date. Withdrawals made                  age 591⁄2 for these reasons as defined by section 72
        during the grace period are not subject to early with-                (q), (t) or (v) of the Internal Revenue LCCWC1O:
        drawal penalties described below. If your CD is                       – Payment of health insurance premiums after sep-
        redeemed during the ten-day grace period, it will not                     aration from employment*;
        earn interest after the maturity date. For single                     – Payment of medical expenses in excess of 7.5%
        maturity CDs, your CD will not automatically renew on                     of the retirement owner’s adjusted gross income*;
        the maturity date. No interest is earned or paid after                – Payment of qualified education expenses*;
        the maturity date.
                                                                              – Payment of first-time home purchase expenses*;
            CD Special Interest Rates. If your CD has a CD Special
        interest rate, that rate applies only to the                          – Payment of retirement funds directly to the IRS
        initial CD term. At the time of renewal, your CD will                     due to IRS levy*;
        automatically renew for the same term at the standard                 – Substantially equal periodic payments*;
        (non-special) interest rate in effect on the renewal date         •   Withdrawal by a Retirement CD owner who is revok-
        or for the Relationship interest rate if you qualify.                 ing their Traditional or Roth IRA within seven days of
              Early Withdrawal Penalties. There is a penalty for              plan establishment (must forfeit accrued interest);
        withdrawing funds prior to the maturity date. If the              •   Withdrawal from a Retirement CD of an excess
        term of the CD is less than 365 days, the early with-                 annual retirement contribution and any attributable
        drawal penalty is equal to $25.00 plus 1% of the                      earnings*;
        amount withdrawn. For terms of one year or more, the              •   Withdrawal by a Retirement CD owner converting a
        early withdrawal penalty is equal to $25.00 plus 3% of                Traditional IRA contribution to a Roth IRA contribu-
        the amount withdrawn. If the withdrawal occurs within                 tion without moving funds from the Bank and where
        seven (7) days after the date of deposit, the amount of               no change in term or rate occurs;
        the early withdrawal penalty shall be calculated as
        above, but in no event shall it be less than the accrued
                                                                          •   Withdrawal by a Retirement CD owner recharacter-
                                                                              izing (changing) a Traditional IRA contribution to a
        interest. Early withdrawal penalties may require                      Roth IRA contribution or vice versa without moving
        a reduction in the principal amount if the amount of                  funds from the Bank and where no change in terms
        accrued and unpaid interest on the deposit is less than               or rate occurs;
        the penalty. Early withdrawal penalties will be waived
        under the following circumstances:                                •  Withdrawal of a Retirement CD in a Money Purchase
                                                                             Pension Plan or Profit Sharing Plan by a Retirement
        • Withdrawal of accrued or paid interest;                            CD owner for the purpose of a Direct Rollover to a
        • Withdrawal due to the death of a CD owner (includ-                 Traditional IRA without moving funds from the Bank
            ing Totten Trust) or a grantor of a revocable family/            and where no change in terms or rate occurs.
            living trust;
                                                                          *Except during the first seven days following account
        • Withdrawal due to the disability of a CD (excluding              opening or for withdrawals made within six days of a
            Retirement CD) owner*;                                         previous withdrawal, in which case the penalty must
        • Withdrawal due to the disability of a Retirement CD              always be applied.
            owner;

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        Stop Payments:                                                         Statements:
           You may stop payment on a check drawn on your                       (for Retirement CDs and Retirement Money
        Account if we have not accepted, certified, made final                 Market Accounts refer to your IRA/CESA or
        payment on or otherwise become accountable for the                     QRP plan document)
        item. Any joint owner may order us to stop payment                         We will maintain appropriate records of your
        on any check drawn on your Account. A Stop Payment                     Account. An Account statement for checking and sav-
        fee will apply. To stop payment on a check, please call                ings accounts will be sent to you at your current address
        us at the phone number listed in the address and                       listed on our records on a monthly basis, unless there
        telephone numbers section.                                             have been no deposits or withdrawals made to your
           You must provide us with the precise Account and                    accounts within a 30 month (12 months in Texas)
        check number/amount to allow us to identify the check                  period, in which case annual statements will be sent,
        based upon our computer retrieval system standards.                    unless otherwise specifically indicated in the personal
        A stop payment order shall become effective not later                  accounts or business accounts sections of this
        than one full business day after we have received such                 Agreement. Statements will be sent via ordinary U.S.
        information, which you agree is a reasonable time. If a                mail, unless you and the Bank agree otherwise. We will
        cashier’s check, teller’s check (“official check”) or certified        send only one statement per Account, even if that
        check is lost, destroyed or stolen, you may assert a                   Account has more than one owner. You agree that send-
        claim to the amount of the check if you give us a dec-                 ing the Account statement as described qualifies as
        laration of loss statement in a form acceptable to us                  sending the Account statement to all owners of the
        and the check has not been presented for payment for                   Account, even if all owners do not have access to the
        90 days from the issue date or in the case of                          mailing address of record for the Account.
        certified checks, from the date of acceptance.                             We may change your postal address of record if we
           For personal Accounts, an oral or written stop pay-                 receive an address change notice from the U.S. Postal
        ment order is effective for 180 days, and may not be                   Service or if we receive information from another party
        extended. However, you may place an additional stop                    in the business of providing correct address informa-
        payment order at any time, in which case such order                    tion that the address in our records no longer corre-
        shall replace the prior instruction, and shall be effec-               sponds to your address.
        tive for 180 days from the day such additional order was                   As used in this Agreement, the monthly statement
        placed. An additional stop payment fee will be charged.                period means the time period covered by your Account
        We will not send a confirmation of your stop payment                   statement. This time period may or may not correspond
        order. For business Accounts, an oral or written stop                  to a calendar month but in most cases will not exceed
        payment may be placed for two lengths of time. You                     32 days or be less than 28 days. The specific dates cov-
        may place a stop payment order to be effective for 180                 ered by your Account statement will be set forth in the
        calendar days or you may place a stop payment order                    statement.
        to be effective for one year and then renewable annu-
        ally, at your choice, for six additional years. We may                 Check Enclosure Options:
        send you a written confirmation of your stop payment                      If, at your election or your Account features so
        order. If any of the information on the confirmation is                require, we retain your cancelled checks and do not
        incorrect, you must notify us within the time period                   return them with your Account statement, you
        stated on the confirmation. If you do not do so, the                   acknowledge that the original cancelled checks may be
        information will be presumed to be correct. You will                   destroyed after a reasonable period of time as deter-
        receive a 60 to 90 day advance notification of stop pay-               mined by us. You agree that by maintaining the origi-
        ments scheduled for renewal on your business Account                   nal check or a copy thereof on your behalf, we have
        statement. You may request at that time to discontinue                 otherwise made the check available to you in a rea-
        the renewal of a stop payment by indicating the stop                   sonable manner. You may request a copy of any can-
        payment you wish to revoke and returning the notice                    celled check and a service charge may be imposed for
        portion of the statement, with an authorized signature,                each copy provided. If for any reason we cannot return
        to the address provided. For personal and business                     a copy of your check or satisfy your needs through
        Accounts, when the effective period of the stop pay-                   other means, you agree that we will not be liable for
        ment order expires, we have no duty or obligation to                   more than the face amount of the check.
        notify you before we pay the item.
                                                                                  If available, when we retain your cancelled checks,
           If you stop payment on a check drawn on your
                                                                               you may request that we include images of the front of
        Account, you may still be obligated to pay such item
                                                                               your cancelled checks with your statement (“Image
        to any party entitled to enforce it pursuant to applica-
                                                                               Statement”). However, you may elect to neither have
        ble state law.
                                                                               your cancelled checks nor images thereof included with

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        your statement (“Check Safekeeping”) and unless the                within the 30-day time frame set forth above, or to
        terms of your Account require Check Safekeeping, you               abide by the conditions set forth herein, shall be deemed
        may elect to have your checks returned with your                   conclusive proof that you failed to exercise reasonable
        Account statement (“Check Enclosure”) rather than                  care and promptness in examining the items and state-
        receiving images thereof.                                          ments of the affected Account and in notifying us of the
           Some merchants, utilities and other billers may elect           unauthorized item or error. You agree that such items
        to convert your check into an electronic funds transfer.           and errors shall therefore be fully enforceable against
        Since we do not receive your check, neither a cancelled            you and you shall have no claim against us for same and
        check nor its image is available from us. Additionally,            shall be barred from bringing any action against us that
        we may elect to receive electronic images from other               is in any way related to the unauthorized item or errors.
        banks or financial institutions in lieu of original checks.            Notwithstanding the foregoing, the Electronic Funds
        If we receive an electronic image for payment, this                Transfer Services section of this Agreement governs
        image will appear with other cancelled checks on your              the reporting of errors on consumer electronic funds
        Image Statement, however the cancelled check is not                transfers governed by Federal Reserve Board Regulation
        available from us.                                                 E. You also have those rights afforded to you under
           If you have elected to have your checks returned in             federal law for substitute checks. Please see the Check
        your statement for the first checking account listed on            21 section of this Agreement for more information.
        your statement, then all other checking accounts listed
        in your statement will require Check Safekeeping (for
                                                                           Sub-Accounts:
        business accounts, you may elect Check Enclosure                       For accounting purposes, all checking accounts con-
        option for all checking accounts). If the first checking           sist of two sub-accounts: a transaction sub-account to
                                                                           which all financial transactions are posted, and a hold-
        account election is Image Statement, then other check-
                                                                           ing sub-account into which available balances above a
        ing accounts will default to Image Statement, unless
                                                                           preset level are transferred daily. Funds will be retrans-
        Check Safekeeping is elected or required by the terms
                                                                           ferred to your transaction sub-account to meet your
        of that account. If the first checking account has Check
                                                                           transactional needs; however, all balances in the holding
        Safekeeping, then all other identified checking accounts
                                                                           sub-account will be transferred to the transaction sub-
        will require Check Safekeeping as well.
                                                                           account with the sixth transfer in any calendar month
        Notification of Errors, Forgeries and                              or monthly statement period.
                                                                               Both sub-accounts are treated as a single account
        Unauthorized Signatures:
                                                                           for purposes of your deposits and withdrawals, access
        (for Retirement CDs and Retirement Money                           and information, tax reporting, fees, etc.
        Market Accounts refer to your IRA/CESA or
        QRP plan document)                                                 Linked Accounts:
           You agree to reconcile your statement promptly                     For checking and savings accounts, you may elect to
        upon receipt. If we honor a check or other item drawn              have these accounts appear on a single statement.
        on or posted to your Account that is altered in any way            Since accounts with at least one common owner can
        or was not drawn or otherwise authorized by you                    be included on an account statement, you agree that
        (“unauthorized item”) or if your Account statement                 information regarding your Account may be made avail-
        contains any errors, you agree to notify us in writing of          able to any other owner on any of the accounts that
        such unauthorized item or error within 30 days of                  are identified on that combined statement.
        the date on which the unauthorized item, or the                       Many checking accounts permit you to link other
        Account statement that contained a description of the              accounts you may have with us or our affiliates to help
        unauthorized item or error, was mailed, transmitted                waive the monthly Service Fee for that checking
        or otherwise made available to you. You must notify                account based upon the balances you keep in those
        the Bank in writing of any unauthorized, improper, or              other accounts. These other accounts need not be
        missing endorsements within six (6) months after the               included on your statement for those pricing benefits
        Account statement is mailed, transmitted or made                   to apply, and accounts that appear on your combined
        available to you. You agree to provide us with all infor-          statement are not automatically linked for purposes
        mation necessary for us to investigate the alleged error           of pricing. If you have multiple checking accounts listed
        or unauthorized item, associated police reports,                   on your statement, pricing benefits may only apply for
        supporting affidavits, and testimony we reasonably                 the first checking account listed. In addition, balances
        request. Failure to report an unauthorized item or error,          held in any particular account may only be used for
        or that you did not receive your scheduled statement,              pricing benefits applied for one checking account.



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           Linking accounts is always at our discretion. If you            Certificates of Deposit
        choose to link your personal accounts to other accounts               We use the daily balance method to calculate inter-
        for which you serve as trustee or custodian (fiduciary),           est on your CD. This method applies a periodic rate each
        your personal account may receive a financial benefit.             day to the principal balance. Interest begins to accrue
        Under fiduciary law, any financial benefit you receive is          on the business day you deposit cash or non-cash items.
        considered a violation of fiduciary duties. We bear no             Interest for CDs is calculated on a 365-day basis,
        responsibility for your decision to link fiduciary and per-        although some business CDs may calculate interest on
        sonal accounts. You should carefully consider this deci-           a 360-day basis. The APY disclosed on the face of your
        sion, and consult with your legal advisor if necessary.            Deposit Receipt, which is considered part of this
           Note: we will not automatically place accounts on               Agreement and, if applicable, on the maturity notice,
        one combined statement or link accounts for pricing;               assumes interest will remain on deposit until maturity.
        you must take authoritative action to do so.                       On maturities of more than one year, interest will be
        Interest:                                                          paid and reported to the IRS at least annually (excludes
                                                                           Retirement CDs). A withdrawal will reduce earnings.
        Checking and Savings Accounts
            Your Account, if designated as interest bearing, will          Record Retention:
        be a variable rate account on which we may change the                 We shall abide by federal and applicable state record
        interest rate and annual percentage yield from time to             retention laws and may dispose of any records that have
        time at our discretion without notice to you. We do not            been retained or preserved for the period set forth in
        impose a limit on the amount the interest rate and                 these laws. Any action by or against us based on, or the
        annual percentage yield on your Account may change.                determination of which would depend on, the contents
        If you have requested your Account not to accrue inter-            of records for which a period of retention or preser-
        est on a periodic basis, we will not establish or maintain         vation is set forth in these laws shall be brought within
        an interest rate for the Account until such time as you            the time for which the record must be retained or
        have requested the Account to begin earning interest.              preserved, unless applicable law provides a shorter
            Interest begins to accrue no later than the business           limitation period. Any action against us on an
        day we receive credit for the deposit of non-cash items.           automatically renewable CD must be brought within
        For purposes of accruing interest, we use the daily bal-           the retention period applicable to that CD based on
        ance method. This method applies a daily periodic rate             the stated maturity date in the most recent record
        to the principal balance in your Account each day,                 evidencing the existence and term of the CD.
        which may be based either on collected or ledger bal-
                                                                           Fees and Service Charges:
        ances as set forth in the product features for your
                                                                              You agree to pay the monthly service fee, transac-
        Account. The collected balance is the balance of all
                                                                           tion fees, fees or interest charges for insufficient funds
        deposits in your Account on which we have received
        credit for the deposited funds (determined by the avail-           and stop payments, and all other applicable service
        ability schedule of our Federal Reserve Bank for non-              charges or fees identified herein as applicable to your
        cash items). The ledger balance is the balance in your             Account, or which may be otherwise mutually agreed
        Account without regard to credit or availability. Inter-           upon by you and the Bank. You authorize us to charge
        est for Chase Retirement Money Market Accounts with                your Account for these fees and service charges at any
        interest distributions will not compound and will credit           time whether or not such fees or charges will result in
        on the distribution date. For all other interest bearing           an overdraft of your Account or, where there are not
        Accounts, interest is credited and compounded monthly.             sufficient funds in your Account to cover your fees and
        On personal Accounts, interest is computed on a 365-day            service charges, to bill you separately. You acknowledge
        basis. We reserve the right not to pay interest on any             and agree that the funds in your Account used to pay
        deposited item that is returned to us unpaid.                      such fees and service charges may include any federal
            The interest rate and annual percentage yield appli-           or state benefit payments that you choose to deposit
        cable to your Account on the date your Account is                  in any Account (including direct deposit of Social
        opened will be set forth on a separate “rate sheet” or             Security). You understand and agree that if you do not
        other interest rate disclosure provided to you when                want your benefits applied in this way, you may change
        your Account is opened. That interest rate disclosure is           your direct deposit instructions to the benefits payor
        considered a part of this Agreement.                               at any time.




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        Form of Account Ownership:                                           sequently returned unpaid, or whether such owner
                                                                             received benefit from a transaction which resulted,
        Personal Accounts
                                                                             directly or indirectly, in such overdraft.
            Where only one individual is designated or appears                   We may refuse to accept items for deposit or to pay
        on a signature card as the owner of such account, then               withdrawals on the signature of any one of several joint
        we may treat the Account as a solely owned account.                  account owners if we receive a written request not to
        In the event of your death or adjudication of incompe-               do so from any joint account owner. After we receive
        tence or interdiction, you agree that we have the right              such written request, we may refuse to honor any
        to honor checks or other items drawn against your                    check, draft or demand upon the account by any of the
        Account until ten days after we receive actual written               joint account owners, including the one providing the
        notice of your death, incompetence or interdiction. We               request to us, unless all of the joint account owners
        may restrict access to your account upon notice of your              concur in the withdrawal of funds from the account. In
        death or adjudication of incompetence or interdiction                the event we receive such a written request, we shall
        until the appropriate documentation reasonably                       be relieved of any and all liability to every joint account
        requested by us, including a death certificate, is pro-              owner for failure or refusal to honor any check, draft or
        vided by your executor, administrator or other repre-                other demand for payment or withdrawal unless all of
        sentative of your estate or person. To the extent and                the joint account owners join in the drawing or other
        under the circumstances permitted by the laws of your                request. This shall not affect transactions previously
        State, upon receipt of actual written notice and proof               completed. Each joint owner appoints each of the
        of your death, the balance in your Account will be paid              others as his/her agent and attorney in fact with power
        to the person or entity you designate to “pay on death”              to endorse and deposit items payable to him/her in the
        (“POD”) or you designate as a POD payee or benefici-                 joint account. If you establish a joint account without
        ary on your Account’s signature card or on a form pro-               the signature of the other joint owner, you agree to hold
        vided by us.                                                         us harmless for our reliance upon your designation of
            Unless your signature card or account opening doc-               the other as a joint owner.
        uments so designate, where two or more individuals are                   If you have opened the account as a Representative
        designated or appear on a signature card as owners of                Payee for receipt of certain federal benefits on behalf
        such Account, then as between them, we will treat the                of a beneficiary, you agree that you will cause to be
        owners as joint tenants with rights of survivorship. For             deposited into the Account only those benefits payable
        any joint account where a joint owner has died, we                   to the beneficiary. The Bank is neither obligated to ensure
        reserve the right not to release funds in the account                that only those eligible federal benefits are deposited
        until all legal documents are delivered to us. You agree             into the Account, nor does it have a duty to determine
        to notify us of the death of any joint owner and to reim-            whether any withdrawals or transfers from the Account
        burse us for any tax we may be required to pay by rea-               are for the benefit of the beneficiary. If the beneficiary
        son of our payment or release of funds in the account                dies, you agree to (a) promptly notify the Bank, (b) no
        to you.                                                              longer permit further deposits to the Account, (c)
            Any joint owner may close the account. We may, at                promptly notify the Bank if any such deposits are made,
        our sole discretion, act upon such other instructions of             and (d) maintain sufficient available balances in the
        any joint owner, including withdrawing funds or adding               Account from which any benefit payments may be
        or removing any signatory or other joint owner to or                 reclaimed by the applicable U.S. Government agency.
        from the account, without the signature of the other                 If the Bank is unable to debit the Account or if there are
        joint owner(s). However, we are under no obligation to               insufficient available funds in the Account from which
        observe such instruction, and may do so or refuse to do              to debit the full amount of any reclamation by the gov-
        so without liability. We may also pay all or any part of             ernment, you authorize the Bank to offset any account
        the funds in the account to any of the joint owners                  owned by you or the beneficiary for any amounts
        upon request of that joint owner or to a court or govern-            reclaimed by the applicable U.S. Government agency.
        mental agency upon receipt of a garnishment order, tax                   If the account is opened as an estate account, trust
        levy or similar legal process identifying any one of the             account, guardianship or conservatorship account, or
        joint owners.                                                        other similar type of account, we reserve the right to
            All joint owners will be jointly and severally liable for        require such documents or authorizations as we may
        all overdrawn accounts, whether or not that particular               reasonably deem necessary or appropriate to satisfy us
                                                                             that the person requesting or directing the withdrawal
        owner initiated a withdrawal request or other transac-
                                                                             of funds held in the account has the authority to with-
        tion drawn against insufficient funds which we honored,
                                                                             draw such funds. We shall be held harmless for refusing
        withdrew funds credited to an account which were made
                                                                             to pay or release funds in the account where such
        available based upon a deposited item which was sub-

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        refusal is based on the failure of the person requesting              endorsement or may supply the endorsement of the
        or directing the withdrawal to provide documents or                   business. The person(s) so designated is authorized to
        authorizations requested by us. If you establish your                 sign any and all checks, drafts and orders drawn against
        account as “in trust for” (“ITF”) or as trustee for a third           any designated account(s) of the business at the Bank.
        person without presenting formal trust documents,                     We are authorized to honor and pay all checks, drafts
        then we may treat the account as a Totten Trust                       and orders when so signed or endorsed without inquiry
        account or as otherwise required by the laws of your                  as to the circumstances of issue or disposition of the
        State. If you have opened an account as custodian for                 proceeds even if doing so causes an overdraft or
        a minor beneficiary under a state’s Uniform Transfers/                increases an overdraft and regardless of to whom such
        Gifts to Minors Act, you will not be allowed to pledge                instruments are payable or endorsed, including those
        the account as collateral for a personal loan to you or               drawn or endorsed to the individual order of any such
        cash checks against the account, except as otherwise                  person so listed.
        permitted by law. Notwithstanding anything to the                         In addition, each eligible signer is authorized to act
        contrary, the relationship between you and the Bank is                for and on behalf of the business in any matter involving
        one of debtor/creditor, not fiduciary, even if the account            any Account of the business, including the authority to
        is titled as a “fiduciary” account with that role being               instruct us to close the Account, and is further author-
        played by you.                                                        ized to sign and implement for and in the name on
            You agree that if your Account is identified as one               behalf of the business, as they, or any of them see fit,
        offered only to individuals or unincorporated nonbusi-                the terms of all agreements, instruments, drafts, cer-
        ness associations, it shall not be used for a business                tificates, or other documents relating to any deposi-
        purpose.                                                              tory accounts or other business including, but not
                                                                              limited to, night depository agreements, funds trans-
        Business Accounts
                                                                              fer agreements or safe deposit agreements.
            Where a corporation, unincorporated association or
        limited liability company, partnership, including a lim-              Telephone Requests:
        ited partnership, limited liability partnership, or joint ven-           You agree that funds in any of your Accounts with
        ture, government entity or sole proprietor (collectively,             us can be transferred, upon the telephone request of
        the “business”) is designated or appears on a signature               any signer on the Account, to another account with us
        card as the owner of such account, then the account is                or to any other financial institution. We shall not be
        payable only to or on the order of the business, and not              responsible for any loss incurred as a result of our acting
        to any individual director, shareholder, member or part-              upon or executing any request, order or instruction we
        ner thereof except as they may be a payee on a check                  believe to be genuine. Furthermore, we may refuse to
        or other item drawn on your Account. You further rep-                 execute any telephone request or order.
        resent and agree that the business has taken all action
        necessary to open and maintain banking accounts at                    Telephone Communication:
        the Bank and that all resolutions and/or other docu-                     For our mutual protection, and to enable us to pro-
        mentation delivered to us in connection with the account              vide better service to you, we may monitor and/or tape-
        are true, accurate, complete, and will be kept up to date             record any of our telephone conversations.
        and may be conclusively relied upon by us. You agree to                  If you provide us with your cell phone number as
        notify us in advance of any change in your form of own-               a contact number for your Account, you agree that
        ership. You also agree that we are not obligated to cash              we may call that number with service messages, includ-
        checks payable to you or to accept “less cash” deposits.              ing calls via an autodialer or prerecorded calls, notwith-
        Notwithstanding anything to the contrary, the rela-                   standing any state or federal law or regulation that
        tionship between you and the Bank is one of debtor/cred-              would otherwise prevent us from engaging in this activ-
        itor, not fiduciary, even if the account is titled as a               ity without your consent.
        “fiduciary” account with that role being played
        by you.                                                               Electronic Communication:
            You agree that each eligible signer is authorized to                 Any communication contemplated by this Agree-
        endorse for collection, deposit, or negotiation any and               ment may be delivered by electronic means if you have
        all checks, drafts, notes, bills of exchange, certificates            agreed to electronic notices rather than via US mail or
        of deposit, and orders for the payment or transfer of                 other means to the extent permitted by law.
        money between accounts at the Bank and other banks,                   Powers of Attorney:
        either belonging to or coming into the possession of the                 If you wish to designate an attorney-in-fact, you
        business. Endorsements “for deposit” may be written                   must do so in a form acceptable to us. Subject to the
        or stamped. We may accept any instrument for deposit
                                                                              laws of your State, we reserve the right to refuse to
        to any depository account of the business without
                                                                              honor any Power of Attorney presented to us, as well

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        as to refuse to recognize a successor attorney-in-fact              deposited into your Account. You understand and agree
        at any time, whether or not the successor attorney-in-              that if you do not want your benefits applied in this way,
        fact is specifically identified in the Power of Attorney.           you may change your direct deposit instructions to the
        In addition, we reserve the right to refuse to follow the           benefits payor at any time. If your Account is a joint
        instruction of an attorney-in-fact to designate the attor-          account and one or more joint owners are indebted to
        ney-in-fact as a joint account holder, ITF beneficiary, or          us in any manner, we may use the funds in the joint
        POD beneficiary to the Account. You agree that we are               account to pay the debt without prior notice to you.
        authorized, but not required, to honor a Power of                   This right of set-off does not apply if the debt is
        Attorney until we receive written notice (1) that you               created under a consumer credit card plan or your right
        have revoked the Power of Attorney or (2) that the                  to withdraw funds from the Account arises only in a
        Power of Attorney has been revoked as a matter of state             representative capacity. You also acknowledge and agree
        law, and that we have had a reasonable opportunity to               that any federal benefits or other payments deposited
        act on that written notice.                                         to your Account after a date of ineligibility must be
                                                                            returned to the Federal Government or other payor, as
        Adverse Claims:                                                     applicable, and we may set-off against any of your
            Upon receipt of oral or written notice from any party           Accounts in order to recover any ineligible benefits or
        of a claim regarding the Account, we may place a hold               payments you may have received if we are obligated to
        on your Account and shall be relieved of any and all lia-           return funds to the payor. If we make a set-off against
        bility for our failure or refusal to honor any item drawn on        your Account, you agree to release and indemnify us
        your Account or any other withdrawal instruction. We                from all liability for our actions.
        may file an action in interpleader with respect to any                  If you or any joint owner draws a check or otherwise
        Account where we have been notified of disputed                     authorizes withdrawals not presented for payment until
        claims to that Account. If any person asserts that a dis-           after the drawer’s death, or if any joint owner is
        pute exists, we are not required to determine whether               indebted to us at the time of his or her death, we are
        that dispute has merit in order to refuse to honor the              authorized to pay such checks and withdrawals and
        item or withdrawal instruction, or to interplead any                exercise our right of set-off against the Account after
        funds in the Account.                                               such joint owner’s death, notwithstanding any rights
                                                                            that a surviving joint owner, a POD payee or a bene-
        Legal Proceedings /Other Restrictions:
                                                                            ficiary of an ITF or “trustee for” account may have to
            We may restrict the use of your Account if the
                                                                            funds in the Account.
        Account is involved in any legal or administrative pro-
        ceeding, whether or not we’re a party to the proceed-               No Waiver:
        ing. All expenses incurred by us as a result of a                      No failure by us to exercise any right will be taken as
        proceeding affecting your Account, may be charged                   a waiver of that right or any other right, and we may still
        against your Account or billed to you separately. These             enforce all of our rights in the future.
        fees may include, but are not limited to, court costs and
        attorney fees.
                                                                            Closing Your Account:
                                                                                Either you or the Bank may close your Account at
            We may also restrict the use of your Account when
                                                                            any time with or without cause. If you close your
        we reasonably consider such action necessary to avoid
                                                                            Account, you may be charged an Account Closing fee.
        a loss. This may occur if we suspect that irregular, unau-
                                                                            We may automatically close your Account if it
        thorized, or unlawful activities may be involved with
                                                                            reaches a zero balance. Any closed account may be
        your Account, whether or not we suspect that you are
                                                                            automatically reopened if we receive a deposit to the
        directly or indirectly aware of these activities. Such
                                                                            Account. If we close your Account, we may send you
        restrictions shall be placed pending an investigation of            written notice that the Account is closed on the date
        these activities.                                                   we close your Account. We will return the balance in
                                                                            your Account less any fees or service charges, claims,
        Set-Off:
                                                                            setoffs or other amounts you owe us, if such net
            You agree that we may, without prior notice or
                                                                            amount exceeds one dollar. Please allow four weeks to
        demand, apply or set off the funds in your Account at
                                                                            receive such funds from us. After your Account is
        any time to pay off any debt, whether direct or indirect,
                                                                            closed, we have no obligation to accept deposits or pay
        you have with us or any of our affiliates and/or any fees
                                                                            any outstanding checks. You agree that we shall be
        or service charges owed to us, and you grant us a secu-             relieved of any and all liability for refusing to honor any
        rity interest in each Account to secure such debt, as it            check drawn on a closed Account. We have the right to
        may arise. You expressly agree that such rights extend to           advise consumer reporting agencies and other third
        any Federal or state benefit payments (including without            party reporting agencies of accounts closed for misuse.
        limitation Social Security benefits) electronically

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        Change in Account Agreement:                                         Research and Legal Process:
           We may change the terms of this Agreement, includ-                    If any legal process, including without limitation any
        ing any fees or features of your Account, upon notice                subpoena, writ of garnishment, execution or any levy,
        sent to you via ordinary U.S. mail at least 30 calendar              is served on us relating to you or your account, we are
        days prior to the effective date of the change; provided             authorized to comply with the legal process, and are
        however, for automatically renewable CDs, no such                    not required to determine whether the court issuing
        change shall be effective prior to the renewal date, and             the legal process had jurisdiction over you or over the
        such notice may be provided with ten days written                    account or otherwise had the authority to issue the
        notice prior to the renewal date. You agree that such                legal process. To the extent not prohibited by applica-
        notice may be provided to any joint account owner. By                ble law, you will be charged for research, reproduction
        maintaining your Account after the effective date of any             and production of documents for our compliance with
        change, you agree to be bound by the changes. No                     legal process and any other expenses incurred by us in
        notice is required for changes in the interest rate and cor-         connection with our compliance, including but not lim-
        responding changes in the annual percentage yield for                ited to attorneys’ fees.
        variable rate accounts or in fees for document printing.                 If any action, including administrative proceedings,
        Rules Governing Your Account:                                        garnishment, tax levies, restraining orders or other
                                                                             action is brought against you or your account, you agree
           Your Account is governed by all rules and regulations
                                                                             to indemnify, defend and hold us harmless from all
        of applicable federal law and the laws of your State (to
                                                                             actions, claims, liabilities, losses, costs and damages
        the extent they are not considered to have been pre-
                                                                             (including attorneys’ fees) associated with our compli-
        empted by federal law), including those that may mod-
                                                                             ance with any legal process.
        ify the terms of this Agreement. All deposits, items
        transmitted for collection, and any other transactions               Location of All Legal Proceedings:
        concerning your Account are subject to applicable
                                                                                 If you file any lawsuit or other legal proceeding
        clearinghouse rules and Federal Reserve rules and
                                                                             against us that is connected in any way to your
        regulations.
                                                                             Accounts or services, you must do so in an appropriate
           Notwithstanding any other provision herein, this
                                                                             court in the state and county where you opened the
        Agreement or any section of this Agreement may be
                                                                             account. If you relocate your Account to another
        changed or terminated without notice to the extent
                                                                             branch, you must file any lawsuit or proceeding in the
        necessary to comply with any law or regulation of any
                                                                             state and county where that branch is located. In
        appropriate federal or state authority.
                                                                             addition, if we file any lawsuit or legal proceeding that is
           If a conflict exists between any provision of this
                                                                             connected in any way to your Accounts or services, you
        Agreement and any statements made by any employee                    consent to jurisdiction and venue in an appropriate
        of ours or our affiliates, this Agreement and the appli-             court in the location described in this paragraph. If
        cable sections will control.                                         either party chooses to have disputes determined under
        Liability:                                                           the section entitled Arbitration, that section rather than
            You agree that we shall be relieved of any and all lia-          this section governs the process and location of the
        bility for acting upon your instructions or failing to act on        arbitration proceedings.
        your instructions when we reasonably believe that to                     If you reside in a U.S. state where we have branch
        do so would cause us to be exposed to civil or criminal lia-         offices, any account you open by mail, internet, or other
        bility, or conflict with customary banking practices.                remote means will be assigned to a branch in the state
            YOU AGREE THAT WE SHALL NOT BE LIABLE                            where you reside, and for purposes of this section your
        FOR INDIRECT, SPECIAL OR CONSEQUENTIAL                               account will be considered to be opened at that branch.
        DAMAGES REGARDLESS OF THE FORM OF ACTION                             If you do not reside in a U.S. state where we have branch
        AND EVEN IF WE HAVE BEEN ADVISED OF THE                              offices, any account you open by mail, internet, or other
        POSSIBILITY OF SUCH DAMAGES.                                         remote means will be considered to be opened in
            IF WE FAIL TO STOP PAYMENT ON AN ITEM, OR                        Franklin County, Ohio.
        PAY AN ITEM BEARING AN UNAUTHORIZED SIG-                             Waiver of Immunity:
        NATURE, FORGED DRAWER’S SIGNATURE OR                                    To the extent that you have or hereafter may acquire
        FORGED ENDORSEMENT OR ALTERATION, OUR                                any immunity from jurisdiction of any court or from
        LIABILITY, IF ANY, SHALL BE LIMITED TO THE FACE                      any legal process (whether through service or notice,
        AMOUNT OF THE ITEM.                                                  attachment prior to judgment, attachment in aid of
                                                                             execution, or otherwise) with respect to itself or its
                                                                             property, you hereby irrevocably waive such immunity


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        in respect of your obligations hereunder to the extent               As an exception to this arbitration provision, you
        permitted by applicable law. Without limiting the gen-           retain the right to pursue in a small claims court, any
        erality of the foregoing, you agree that such waivers            Claim that is within that court’s jurisdiction and pro-
        shall have the fullest extent permitted under the                ceed on an individual basis.
        Foreign Sovereign Immunities Act of 1976 of the United               If you or the Bank elects to arbitrate a Claim, the
        States and are intended to be irrevocable for purpose            arbitration will be conducted as an individual action.
        of such act.                                                     Neither you nor the Bank consents or agrees to any
                                                                         arbitration on a class or representative basis, and the
        Arbitration:                                                     arbitrator shall have no authority to proceed with any
           PLEASE READ THIS PROVISION CAREFULLY. IT PRO-                 arbitration on a class or representative basis. This arbi-
        VIDES, WITH THE SPECIFIC EXCEPTION STATED                        tration provision applies to and includes any Claims
        BELOW, THAT ANY DISPUTE MUST BE RESOLVED BY                      made and remedies sought as part of any class action,
        BINDING ARBITRATION. ARBITRATION REPLACES THE                    private attorney general or other representative action,
        RIGHT TO GO TO COURT. YOU WILL NOT BE ABLE TO                    which Claims hereby are made subject to arbitration
        BRING A CLASS ACTION OR OTHER REPRESENTATIVE                     on an individual (non-class, non-representative) basis.
        ACTION IN COURT, NOR WILL YOU BE ABLE TO BRING                   This means that even if a class action lawsuit or other
        ANY CLAIM IN ARBITRATION AS A CLASS ACTION OR                    representative action, such as that in the form of a pri-
        OTHER REPRESENTATIVE ACTION. YOU WILL NOT BE                     vate attorney general action, is filed, any Claim
        ABLE TO BE PART OF ANY CLASS ACTION OR OTHER                     between you and the Bank related to this Agreement
        REPRESENTATIVE ACTION BROUGHT BY ANYONE ELSE,                    raised in such lawsuits will be subject to an individual
        OR TO BE REPRESENTED IN A CLASS ACTION OR                        arbitration Claim if either you or the Bank so elects.
        OTHER REPRESENTATIVE ACTION. IN THE ABSENCE                           The party filing a Claim in arbitration must select
        OF THIS ARBITRATION AGREEMENT, YOU AND THE                       either one of two national arbitration administrators:
        BANK MIGHT OTHERWISE HAVE HAD A RIGHT OR                         the National Arbitration Forum (“NAF”) or the American
        OPPORTUNITY TO BRING CLAIMS IN A COURT,                          Arbitration Association (“AAA”). The arbitration organi-
        BEFORE A JUDGE OR JURY, AND/OR TO PARTICIPATE                    zation that is selected will apply its code or procedures
        OR BE REPRESENTED IN A CASE FILED IN COURT BY                    in effect at the time the arbitration claim is filed, unless
        OTHERS (INCLUDING CLASS ACTIONS). EXCEPT AS                      any portion of that code or those procedures is incon-
        OTHERWISE PROVIDED BELOW, THOSE RIGHTS ARE                       sistent with any specific terms of this arbitration pro-
        WAIVED. OTHER RIGHTS THAT YOU WOULD HAVE IF                      vision and/or this Agreement, in which case this
        YOU WENT TO COURT, SUCH AS THE RIGHT TO                          arbitration provision and this Agreement shall prevail.
        APPEAL AND TO CERTAIN TYPES OF DISCOVERY, MAY                    The arbitration will be conducted before a single arbi-
        BE MORE LIMITED OR MAY ALSO BE WAIVED.                           trator. The arbitrator will apply applicable substantive
           Either you or the Bank may, without the other’s con-          law, including but not limited to the applicable Uniform
        sent, elect mandatory, binding arbitration of any claim,         Commercial LCCWC1O, consistent with the Federal
        dispute or controversy raised by either you or the Bank          Arbitration Act, 9 U.S.C. §§ 1-16 (“FAA”) and the appli-
        against the other, or against the employees, parents,            cable statute of limitations or condition precedent to
        subsidiaries, affiliates, beneficiaries, heirs, agents or        suit, and will honor claims of privilege recognized at
        assigns of the other, arising from or relating in any way        law. The arbitrator will have the power to award to a
        to this Agreement, any prior account agreement                   party any damages or other relief provided for under
        between you and the Bank, or the advertising, the appli-         applicable law, and will not have the power to award
        cation for, or the approval of your Account (the “Claim”         relief to, against or for the benefit of any person who is
        or “Claims”). All Claims originating from or relating to         not a party to the proceeding. The arbitrator’s author-
        this Agreement are subject to arbitration, no matter             ity is limited solely to the Claim(s) between you and
        what theory they are based on or what remedy they                the Bank alone. The arbitration may not be consoli-
        seek, whether legal or equitable. This includes Claims           dated with any other arbitration proceeding. You and
        based on contract, tort (including intentional tort),            the Bank do not agree to any arbitration on any basis
        fraud, agency, negligence, statutory or regulatory pro-          to which any party other than you and the Bank, the
        visions, or any other sources of law, or any request for         related parties enumerated above such as heirs, suc-
        equitable relief.                                                cessors and assigns, or any other person obligated on
           Claims subject to arbitration include Claims that are         the Account, is involved.
        made as counterclaims, cross claims, third party claims,             Any decision rendered in such arbitration proceeding
        interpleaders or otherwise, and any party to a proceed-          will be final and binding on the parties, unless a party
        ing in court may elect arbitration with respect to any           appeals in writing to the arbitration organization within
        Claims advanced in the lawsuit by any party or parties.          30 days of issuance of the award. The appeal must


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        request a new arbitration before a panel of three neutral          written consent, and no assignment will be valid, nor
        arbitrators designated by the same arbitration organi-             will we be deemed to have knowledge of or be bound
        zation. The panel will reconsider all factual and legal            by such assignment, until we have noted that fact in its
        issues anew, follow the same rules and laws that apply             records. However, by noting the assignment, we do not
        to a proceeding using a single arbitrator, and make deci-          attest to or have any responsibility for the validity of the
        sions based on the vote of the majority. An award in arbi-         assignment. You understand that any assignment of
        tration will be enforceable as provided by the FAA or              your Account is subject to our right of set-off.
        other applicable law by any court having jurisdiction.
           We will reimburse you for the initial arbitration filing        Authorization to Share Information:
        fee paid by you up to the amount of $500. If there is a              You authorize us to share information about you and
        hearing, we will pay any fees of the arbitrator and arbi-          your Account with affiliates and third parties, as per-
        tration administrator for the first two days of that hear-         mitted by applicable federal and state laws.
        ing. All other fees will be allocated in keeping with the
        rules of the arbitration administrator and applicable
        law. If you prevail in the arbitration of any Claim against        Check 21 – Substitute
        us, we will reimburse you for any fees you paid to the
        arbitration organization in connection with the arbi-
                                                                           Checks and Your Rights
        tration. All other fees, including attorneys’ fees,                What is a substitute check?
        will be allocated in keeping with the rules of the arbi-              To make check processing faster, federal law permits
        tration administrator. Any decision rendered in such               banks to replace original checks with “substitute
        arbitration proceedings will be final and binding on the           checks.” These checks are similar in size to original
        parties, and judgment may be entered in a court                    checks with a slightly reduced image of the front and
        of competent jurisdiction. Rules and forms may be                  back of the original check. The front of a substitute
        obtained from, and Claims may be filed with, either of             check states: “This is a legal copy of your check. You can
        the two organizations, as follows: the NAF at P.O. Box             use it the same way you would use the original check.”
        50191, Minneapolis, Minnesota 55405, web site at                   You may use a substitute check as proof of payment
        www.arb-forum.com; or the AAA at 335 Madison                       just like the original check.
        Avenue, Floor 10, New York, New York 10017, web site                  Some or all of the checks that you receive back from
        at www.adr.org. Any arbitration hearing at which you               us may be substitute checks. This notice describes rights
        wish to appear will take place at a location within the            you have when you receive substitute checks from us.
        federal judicial district that includes your address at the        The rights in this notice do not apply to original checks
        time the Claim is filed.                                           or to electronic debits to your account. However, you
           This arbitration provision is part of and constitutes           have rights under other law with respect to those
        a transaction involving interstate commerce, and shall             transactions.
        be governed by the FAA.
           This arbitration provision applies to all Claims relat-         What are your rights as a CONSUMER
        ing to your Account that arose in the past, which may              regarding substitute checks?
        presently be in existence, or which may arise in the                  In certain cases, federal law provides a special pro-
        future. This arbitration provision shall survive termina-          cedure that allows you to request a refund for losses
        tion of your Account as well as voluntary payment of               you suffer if a substitute check is posted to your
        any outstanding indebtedness in full by you, or any                account (for example, if you think that we withdrew
        bankruptcy by you. If we assign your Account to any                the wrong amount from your account or that we with-
        unaffiliated third party, this arbitration provision will          drew money from your account more than once for the
        apply to any Claim between you and that third party if             same check). The losses you may attempt to recover
        you or that third party chooses arbitration, or to any             under this procedure may include the amount that was
        Claim between you and the Bank which occurred prior                withdrawn from your account and fees that were
        to such assignment or arises from such assignment.                 charged as a result of the withdrawal (for example,
                                                                           bounced check fees).
        Successors and Assignments:                                           The amount of your refund under this procedure is
           This Agreement shall be binding on your personal                limited to the amount of your loss or the amount of
        representative, executors, administrators, and succes-             the substitute check, whichever is less. You also are enti-
        sors. The benefits and responsibilities of this Agreement          tled to interest on the amount of your refund if your
        shall also transfer to and be binding upon our succes-             account is an interest-bearing account. If your loss
        sors and assigns.                                                  exceeds the amount of the substitute check, you may be
           You may not transfer, assign or grant a security inter-         able to recover additional amounts under other law.
        est in (collectively, “assign”) your Account without our
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           If you use this procedure, you may receive up to                   For determining the availability of your deposits,
        $2,500 of your refund (plus interest if your account              every day is a business day, except Saturdays, Sundays,
        earns interest) within 10 business days after we received         and state and federal holidays. If you make a deposit in
        your claim and the remainder of your refund (plus inter-          a branch no later than 2:00 p.m. local time on a busi-
        est if your account earns interest) not later than 45 cal-        ness day that we are open,* we will consider that day
        endar days after we received your claim.                          to be the day of your deposit. If you make a deposit on
           We may reverse the refund (including any interest on           a business day through a Chase ATM located in CT, NJ
        the refund) if we later are able to demonstrate that the          and NY no later than 12:00 noon ET; in LA no later than
        substitute check was correctly posted to your account.            1:00 p.m. CT; in TX no later than 2:30 p.m. CT; in IL no
                                                                          later than 6:00 p.m. CT; in UT no later than 2:00 p.m.
        How do you make a claim for a refund?                             MT; in CO no later than 2:45 p.m. MT; in AZ no later
           If you believe that you have suffered a loss relating          than 3:00 p.m. MT; in ID no later than 4:30 p.m. MT; in
        to a substitute check that you received and that was              WA, OR, CA and NV no later than 4:30 p.m. PT; and in
        posted to your account, please contact us at:                     all other states no later than 4:45 p.m. ET;* we will con-
            By Phone:      English 1-800-935-9935                         sider that day to be the day of your deposit. However,
                           Spanish 1-877-312-4273                         if you make a deposit after these stated times, or on a
                           Hearing Impaired 1-800-242-7383                weekend, state holiday, federal holiday or day we are
                                                                          closed, we will consider that the deposit was made on
           You must contact us within 40 calendar days of the             the next business day.
        date that we mailed (or otherwise delivered by a means            *Closing of the business day may vary by location.
        to which you agreed) the substitute check in question               Check your local branch or ATM for exact times.
        or the account statement showing that the substitute
        check was posted to your account, whichever is later.             Longer Delays May Apply:
        We will extend this time period if you were not able                 In some cases, we may not make all of the funds that
        to make a timely claim because of extraordinary                   you deposited by check available by the first business
        circumstances.                                                    day after the day of your deposit. Depending on the
                                                                          type of check that you deposit and the location where
        Your claim must include –                                         your deposit is received, funds may not be available
        •   A description of why you have suffered a loss (for            until the fifth business day after the day of your deposit.
            example, you think the amount withdrawn was                   All deposits made by mail and addressed to a Chase
            incorrect);                                                   location without using a specific branch name and
        •   An estimate of the amount of your loss;                       street address will be considered received by the Bank’s
        •   An explanation of why the substitute check you                National Bank-By-Mail facility in Louisville, Kentucky
            received is insufficient to confirm that you suffered         as of the date such deposit is received by this facility.
            a loss; and                                                   However, the first $100 of these deposits will be avail-
                                                                          able on the first business day after the day of your
        •   The following information to help us identify the
                                                                          deposit.
            substitute check; the check number, the name of
                                                                             If we are not going to make all of the funds from
            the person to whom you wrote the check, and the
                                                                          your deposit available on the first business day, we will
            amount of the check.                                          notify you at the time you make your deposit. We will
                                                                          also tell you when the funds will be available. If your
                                                                          deposit is not made directly to a Bank employee, or if
        Funds Availability Policy                                         we decide to take this action after you have left the
                                                                          premises, we will mail you the notice by the day after
        for Personal Accounts                                             we receive your deposit.
                                                                             If you will need the funds from a deposit right away,
        General Policy:                                                   you should ask us when the funds will be available.
           Our general policy is to make funds from your                     Funds you deposited by check may be delayed for
        deposit available to you on the first business day after          longer than five business days under the following
        the day we receive your deposit. Wire transfers and               circumstances:
        electronic direct deposits will be available on the day           • We believe a check you deposited will not be paid;
        we receive your deposit. Once funds from your deposits
        are available, you can withdraw them in cash and we
                                                                          • You deposited checks totaling more than $5,000 in
                                                                             any one day;
        will use the funds to pay items that are drawn against
        your account.

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        •  You redeposited a check that has been returned
                                                                              Important Endorsement
           unpaid;
        • You have overdrawn your account repeatedly in the                   Standards for Personal
           last six months; or
        • There is an emergency, such as failure of communi-                  and Business Accounts
           cations or computer equipment.                                       Your compliance with the Bank’s endorsement stan-
           We will notify you if we delay your ability to with-               dards is necessary to help assure that the checks you
        draw funds for any of these reasons, and we will tell you             deposit will be cleared on a timely basis. The Bank’s
        when the funds will be available. In these circum-                    endorsement standards are:
        stances, funds deposited will generally be available no               •   Customer endorsements must be placed in the 1 1⁄2
        later than the seventh business day after the day of your                 inch area starting at the left side of the check;
        deposit and, unless your deposit totals more than
        5,000, the first $100 of your deposits will not be made               •   The remaining area of the check cannot contain
                                                                                  any pre-printed stamped or handwritten customer
        available on the first business day.
                                                                                  information. The diagram below illustrates where the
        Special Rules for New Accounts:                                           endorsements must appear to comply with these
           If you are a new account customer, the following                       endorsement standards; and
        special rules may apply during the first 30 days your                 •   The check is viewed from the front as though it is
        account is open:                                                          transparent.
        • Funds from deposits of cash, wire transfers, and the
           first $5,000 of a day’s total deposits of cashier’s, cer-                                                   Area used for payee
                                                                                                                       endorsement.
           tified, teller’s, traveler’s, and federal, state, and local
           government checks will be available on the first busi-




                                                                                                                                      Depositor (payee)
           ness day after the day of your deposit if the deposit




                                                                                                                                       endorsement.
           meets certain conditions. For example, the checks                                                Reserved for
           must be payable to you. The excess over $5,000 will                                               Bank Use
           be available on the ninth business day after the day
           of your deposit. If your deposit of these checks
           (other than U.S. Treasury checks) is not made in per-                           3 Inches                            11/2 Inches
           son to one of our employees, the first $5,000 will
                                                                                    Area used for         Area used for bank
           not be available until the second business day after                     subsequent collecting of first deposit.
           the day of your deposit; and                                             bank endorsement.

        • Funds from all other check deposits will be available
           no later than the fifteenth business day after the day
           of your deposit.
                                                                              Electronic Funds
        Holds on Other Funds:
           If we cash a check for you that is drawn on another
                                                                              Transfer Services
        bank, we may withhold the availability of a corre-                       We provide a variety of electronic funds transfer
        sponding amount of funds that are already in your                     (EFT) deposit account services. These include all trans-
        Account. Those funds will be available at the time funds              fers resulting from debit cards, ATM Cards, electronic
        from the check we cashed would have been available if                 payments, credits and transfers, telephone transfers
        you had deposited it.                                                 and on-line banking transactions. In conjunction with
                                                                              the use of these EFT services, we may issue to you an
           If we accept for deposit a check that is drawn on
                                                                              access device, which may be a card, code or other
        another bank, we may make funds from the deposit                      means of accessing your Account to initiate EFTs.
        available for withdrawal immediately but delay your                      For Personal Accounts, EFT deposit account services
        availability to withdraw a corresponding amount of                    exclude wire transfer and other same day settlement
        funds that you have on deposit in any other Account                   funds transfer services and all other transactions which
        with us, including savings account. The funds in the                  are not covered by Federal Reserve Regulation E. These
        other account would then not be available for with-                   will be governed by a separate agreement. For Business
        drawal until the time periods that are described herein.              Accounts, wire transfer and all other funds transfer or
                                                                              other treasury services not identified in this section will
                                                                              be governed by a separate agreement.



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          Business Days – Everyday is a business day, except              9. If you use your Card to access an Account that
        Saturdays, Sundays, and State and Federal holidays.                   does not have sufficient funds to complete a
                                                                              transaction or that would exceed the daily
        TYPES OF EFT SERVICES:                                                authorization limit attached to your Card, we
        A. Access Cards. As a condition of opening your                       may, at our sole discretion, authorize the trans-
           personal checking account, you understand and                      action. If we authorize a transaction that over-
           agree that you will be issued a new Chase Debit
                                                                              draws your Account, we may assess a fee and/or
           Card if you do not select a debit card or specialty
                                                                              charge interest for any overdraft against your
           debit card at the time of account opening. You may
                                                                              Account.
           use this debit card to access your new checking
           account. This feature may not be waived. When you             10. The exchange rate applied by Visa® or
           open your new checking account at the branch, if                   MasterCard® to Card transactions that oc-
           you do not select a Personal Identification Number                 curred initially in a different currency will be (i)
           (PIN) for your new debit card, a randomly selected                 a rate selected by Visa or MasterCard from the
           four-digit PIN will be sent to you. Activating your                range of rates available in wholesale currency
           new debit card is not a condition of maintaining                   markets for the applicable central processing
           your checking account. When you activate your                      date, which rate may vary from the rate Visa
           new debit card, any temporary ATM Card that may                    or MasterCard itself receives, or (ii) the govern-
           have been issued to you at the branch will be deac-                ment-mandated rate in effect for the applica-
           tivated. Not applicable for Chase Premier Platinum                 ble central processing date. The rate in effect
           Checking SM and High School Checking.                              on the applicable processing date may differ
              By using your ATM Card or debit card (the                       from the rate on the date you used your Card.
           "Card"), you agree that:                                           For purchases, ATM and non-ATM cash trans-
           1. Your Card remains our property and will be sur-                 actions, we will add three percent to the
               rendered immediately to us upon request.                       amount provided to us by Visa and MasterCard.
           2. We may cancel your Card at any time without                 11. You shall not use your Card to initiate a transac-
               notice.                                                        tion involving Internet gambling or illegal activ-
           3. You shall abide by our rules and regulations                    ities, regardless of the jurisdiction in which you are
               relating to the use of your Card.                              located, including locations within the United
           4. You shall notify us promptly by telephone or in                 States, and we have the right to refuse a trans-
               writing of the loss of your Card.                              action which we reasonably believe involves
           5. You shall not reveal your Card or access code                   Internet gambling or illegal activities.
               associated with your Card (personal identifica-
               tion number or “PIN”) to any person not                 Uses of Your Card:
               authorized by you to use your Card and to not           (1) You can use your Card (except for deposit only
               write your PIN number on your Card or on any
                                                                           Business ATM Cards) to perform the following
               item kept with your Card.
                                                                           services at:
           6. For merchant purchases, we have the right to
               place a temporary hold on your Account, which              a. Chase branded ATMs to:
               may affect available balances for purposes                    • Withdraw cash from your designated check-
               of paying or honoring other items posting to                    ing and savings accounts.
               your Account, in an amount equal to the                       • Transfer funds between your designated
               authorization amount received through the pay-                  checking and savings accounts.
               ment authorization system. Occasionally, the
               merchant does not provide sufficient informa-                 • Find out your designated checking and sav-
                                                                               ings account balances.
               tion with the transaction to allow us to match
               the final amount to the authorized amount. In                 • Make deposits to your designated checking
               these cases the temporary hold will remain on                   and savings accounts. (California ATMs will
               your Account for three business days.                           accept your deposit starting October 2009.)
           7. We have the right to refuse a transaction on your              • Make payments to qualifying Chase Credit
              Account when your Card has been reported lost                    Card accounts.
              or stolen or when we reasonably believe there is               • Obtain a statement at participating ATMs
              unusual activity on your Account.                                where available.
           8. If you use your Card to access an Account that              b. Non-Chase ATMs to:
              is no longer available to complete a transaction,              Use your Card at participating networks. Use of
              we may, at our sole discretion, charge or credit               your Card may vary depending on the location
              the transaction to another Account.                            and type of ATM you are using and the EFT
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                network through which the transaction is being                   ring changes to your Card until you notify the
                performed. A specific ATM or EFT network may                     merchant and us that you have withdrawn your
                not perform or permit all the above transactions.                authorization.
                Transactions at non-Chase ATMs may be subject             (4) Point-of-Sale Terminal Transactions:
                to a surcharge assessed by the terminal owner.                You may use your Card (except for the Business
                In addition, a specific ATM or EFT network may                ATM Card (deposit only)) to access your primary
                not provide you with access to all of your                    checking account to:
                Accounts based on the policies of the ATM-
                owning institution. Withdrawals from ATMs
                                                                              • Purchase goods and services from merchants
                                                                                 and ATMs who have agreed to accept your Card
                outside the United States generally do not                       as a means of payment.
                allow savings or money market access. If you
                have questions regarding whether a certain                    • Withdraw cash in conjunction with a purchase of
                                                                                 goods or services if permitted by the merchant.
                ATM or EFT network will process a transaction,
                call or write us.                                             • Perform balance inquiries on your primary
                                                                                 checking account if permitted by the merchant.
        (2) Business ATM Card (deposit only):
            You may use your Business ATM Card (deposit only)
                                                                          Limitations on Transfers, Amounts, and
            to make deposits to your designated checking and sav-
            ings accounts at full service Chase branded ATMs.             Frequency of Transactions:
        (3) In addition to the services listed above, you may             (1) You may make only 6 preauthorized withdrawals
            use your Card:                                                    (including, but not limited to, withdrawals made by
                                                                              ACH, telephone, Internet or wire) from your regu-
            •   At any financial institution that honors your Card
                                                                              lar savings account or 6 preauthorized withdrawals
                to obtain non-ATM cash, which may not exceed
                                                                              (no more than 3 of which may be by check or simi-
                your daily authorization limit and will be charged
                                                                              lar order payable to a third party) from your money
                to your primary checking account. Transactions
                                                                              market deposit savings account monthly for pur-
                exceeding this limit may require the financial
                                                                              poses of making a payment to a third party. We are
                institution to phone the Bank for approval.                   not considered a third party for purposes of this
            •   To purchase goods and services from merchants                 limitation where the transfers are for purposes of
                who accept your Card as a means of payment.                   re-paying loans and associated expenses.
                Purchases may not exceed your daily authori-              (2) You may make cash withdrawals, not to exceed
                zation limit and are charged against your primary             your daily authorization limit, at any ATMs described
                checking account. If you have arranged with your              above.
                merchant to pay for your purchases via periodic
                                                                          (3) You may make Point-of-Sale transactions in
                payments, this is an agreement between you and
                                                                              amounts not to exceed your daily authorization
                the merchant and you agree that you must notify
                                                                              limit.
                the merchant if your account number or expira-
                tion date has been changed or your Account has            (4) If your Account is not in an active status, purchases
                been closed.                                                  made with your Card and ATM transactions will be
                                                                              suspended.
            •   If you request Emergency Services, you agree
                                                                          (5) A Privileges Debit Card or Business Associate Debit
                to the release of personal data to Visa U.S.A.
                Inc., MasterCard and its member financial insti-              Card may be issued at your request to allow author-
                tution and/or their respective contractors for the            ized non-signers to access your designated check-
                                                                              ing or savings accounts. The maximum daily dollar
                purposes of providing the Emergency Services.
                                                                              limit for ATM cash withdrawals and Point-of-Sale
            •   If you provide authorization to a merchant to                 transactions will be selected by you at the time you
                bill charges on a recurring basis to your Card,               request the card. For Privileges Debit Cards, these
                and if a replacement Card has been issued to                  dollar limits will be monthly instead of daily.
                you, you must provide that merchant with your
                new card number and/or expiration date in order           Your Right to Receive Documentation or
                to bill the recurring charges to your Card. We
                will make an effort to make available to the mer-
                                                                          Notice of Transactions:
                chant through Visa/MasterCard your account                   You will receive a receipt or have the option to
                number, and/or expiration date in order to per-           receive a receipt at our ATMs and the other ATMs that
                mit the merchant to continue to bill the recur-           accept your Card each time you make a transaction.
                                                                          The receipt will indicate the location of the ATM (by

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        code in some cases), the transaction date and type,                    account number or debit card number and pass-
        the amount, and the last four digits of your Card                      word, PIN or TIN as directed. Then follow the
        account number.                                                        options.
            You will receive an account statement each month for           E. Overdraft Protection Transfers. To obtain
        your accounts that are accessible by electronic funds                 Overdraft Protection you must have a checking
        transfers if such transfers occur during the month, but               account with us. You must also have a savings
        at least quarterly if no such transfers occur.                        account, qualifying credit card, or qualifying home
            If you have arranged to have direct deposits made                 equity, Prestige or business line of credit (“Funding
        to your account at least once every 60 days from the                  Account”). We are able to transfer funds from a
        same person, company or governmental agency, you                      Funding Account to your checking account to help
        can call us to find out whether or not the deposit has                prevent overdrafts from occurring.
        been made. When calling us, please provide us with
        your account number and the amount and date of the                 IN CASE OF ERRORS OR QUESTIONS
        last deposit.
                                                                           ABOUT YOUR ELECTRONIC FUNDS
        B. Payments, Credits and Transfers. We are able                    TRANSFERS:
           to electronically transfer funds between your
           Accounts, or from your Account to other parties and             For Personal Accounts Only:
           to receive funds electronically from other parties for             Telephone or write us at the telephone number or
           deposit to your Account. We may do this by “ACH”                address set forth in the address and telephone num-
           (as a member of a local or national Automated                   bers section if you think your statement or receipt is
           Clearing House Association) and other EFT networks.             wrong, or if you need more information about a trans-
           You may authorize a merchant or other payee to                  action listed on the statement or receipt. We must hear
           make a one-time electronic payment from your                    from you NO LATER than 60 days after we sent you the
           checking account using information from your check              FIRST statement on which the problem or error
           to pay for purchases or pay bills.                              appeared. In your communication to us, be prepared to
                                                                           provide us with the following information:
        C. Online Bill Payment and Transfer Services.
           You may use the Internet to electronically direct us                1. Your name and account number.
           to make payments from your checking account to                      2. A description of the error or the transfer you are
           third parties (“payees”) whom you have selected in                      unsure about, why you believe it is an error or
           advance to receive payment by means of the online                       why you need more information.
           bill payment service. You must have a checking                      3. The dollar amount of the suspected error.
           account with us to use this service. If you have mul-              If you initially provide this information to us via the
           tiple accounts with us, you may also direct us to               telephone, we may require that you send your com-
           make transfers between your accounts by means of                plaint or question in writing within 10 business days.
           the online transfer service. To gain access to these               We will advise you of the results of our investigation
           online services, go to our websites and enroll with             within 10 business days (or 20 business days if your
           your eligible Bank accounts. Additional disclosures             Account was opened less than 30 days prior to the date
           and specific terms and conditions for using the                 of the suspected error) after we hear from you and, if
           online services will be provided when you enroll.               we have made an error, we will correct it promptly. If it
        D. Telephone Banking. You may use our automated                    takes us longer than 10 business days (or 20 business
           customer service system or speak directly to a                  days if your Account was opened less than 30 days prior
           Telephone Banker to request us to make periodic                 to the date of the suspected error) to research your
           transfers from your Account to another checking or              complaint or problem, we must provisionally recredit
           savings account held by us. You may also make peri-             your Account within such time for the amount you
           odic transfers from your Account to pay certain                 think is in error so that you will have the use of the
           loans, lines of credit, or credit cards you have with us        money during the time it takes us to conclude our
           or with our affiliates. To use the automated system             investigation. If we ask you to put your question or
           you must have a checking, savings, money market,                complaint in writing, and do not receive it within 10
           CD, loan account or a debit card and a valid pass-              business days, we may not recredit your Account.
           word or PIN. Business account holders may also use                 At the conclusion of our investigation, we will inform
           a valid TIN. You agree not to reveal your account               you of our results within three (3) business days. If we
           number, debit card number, password, PIN or TIN                 determine that there was no error, we will send you a
           to any person not authorized by you to use the                  written explanation. You may ask for copies of the doc-
           automated system. To use the service, enter your                uments that we used in our investigation. In all cases,

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        our investigation will be completed within 45 days (or                If these regular payments vary in amount, the per-
        90 days if your Account was opened less than 30 days               son you are going to pay will tell you, 10 days before
        prior to the date of the suspected error or occurred at a          each payment, when it will be made and how much it
        point-of-sale location or outside the United States).              will be. You may choose instead to get this notice only
                                                                           when the payment would differ by more than a certain
        THE BANK’S LIABILITY FOR FAILURE TO                                amount from the previous payment, or when the
        COMPLETE TRANSACTIONS:                                             amount would fall outside certain limits that you set.
                                                                              If you order us to stop one of these payments three
           If we do not complete a transaction from your
                                                                           business days or more before the transfer is scheduled,
        account on time or in a correct amount, according to
                                                                           and it does not do so, we will be liable for your losses
        our Agreement with you, we will be liable for your
                                                                           or damages.
        losses or damages.
           However, there are some exceptions. For instance,               DISCLOSURE OF ACCOUNT
        we will not be liable if:                                          INFORMATION TO THIRD PARTIES:
            1. Through no fault of ours, you do not have                     We may disclose information to third parties about
               enough available funds in your account to make              your account or the transfers you made:
               the transaction.                                               1. As necessary to complete transactions.
            2. The ATM where you are making a withdrawal does                 2. In connection with the investigation of any claim
               not have enough cash.                                             you initiate.
            3. The ATM was not working properly and you                       3. To comply with government agency or court
               knew about the breakdown when you started                         orders.
               the transaction.                                               4. In accordance with your written permission.
            4. Circumstances beyond our control (such as fire                 5. As otherwise permitted by the terms of the
               or flood) prevent the transaction, despite rea-                    Bank’s Privacy Policy.
               sonable precautions that we have taken.                       Our Privacy Policy is also available on Chase.com.
            5. In the case of preauthorized credits, the data
               from the third party is not received, is incom-             NOTICE OF YOUR RIGHTS AND
               plete or erroneous, or if the recipient is deceased.        LIABILITIES:
            6. Your Account is not in an active status.                    For Personal Accounts Only:
                                                                              Tell us AT ONCE if you believe your Card, PIN or code
        STOP PAYMENT FOR                                                   has been lost or stolen. Telephoning us is the best
        PREAUTHORIZED TRANSFERS:                                           and fastest way of keeping your possible losses to a
                                                                           minimum.
          If you have arranged, in advance, to make regular                   If you tell us within two business days, you can lose
        periodic payments out of your Account, you can stop                no more than $50.00 if someone used your Card, PIN
        any of those payments by following these procedures:               or code without your permission. If you do NOT tell us
            1. Call or write us at the telephone number or                 within two business days after you learn of the loss or
               address set forth in the address and telephone              theft of your Card, PIN or code and we can prove we
               numbers section, in time for us to receive your             could have stopped the unauthorized transactions if
               request three or more business days before the              you had told us, you could lose as much as $500.00.
               payment is scheduled to be made. (Note: By                     If your statement shows electronic funds transfers
               using your personal computer to cancel the                  that you did not make, tell us at once. If you do not tell
               transaction, you may stop a bill payment that is            us within 60 days after the statement was mailed to
               “Pending” at any time prior to four business days           you, you may be liable for transactions posting after
               before the Payment Due Date. To stop bill pay-              the 60 days if we can prove that we could have pre-
               ments that are “In Process” please call the                 vented the transactions if you had told us in time.
               Customer Service Department at 1-877-CHASE                     If a good reason (such as a long trip or a hospital
               PC (1-877-242-7372). See your Online Bill                   stay) kept you from telling us, let us know. We will
               Payment Agreement for information concerning                extend the time periods.
               “Pending” and “In Process” transactions.)
            2. If you call, we may require you to put your                 For Business Accounts Only:
               request in writing so that it reaches us within 14          A. You agree to assist us in the investigation and pros-
               days after your call.                                          ecution of claims for unauthorized transactions by
            3. You may be charged the current stop payment                    completing the appropriate statements and reports
               fee for each stop payment order you give us.                   reasonably requested by us.
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        B. You agree to notify us promptly in writing of any                Chase
           user of a Card who is no longer employed by you or               Regulation E, TX1-2551
           authorized to conduct business on your behalf.                   Card and ATM Operations
                                                                            P.O. Box 620002
        C. You agree that by allowing anyone to use your Card,
                                                                            Dallas, TX 75262-9802
           you will be responsible for all authorized and unau-
           thorized transactions made through the use of your                In case of errors or questions about your electronic
           Card.                                                         funds transfers (EFT), call 1-866-564-2262.

        D. Liability for unauthorized transactions, including
           electronic funds transfers, shall be governed by
           Section II of this Agreement, entitled “Deposit               Alerts and Chase MobileSM
           Account Agreement.”
                                                                         Services
        Special Provisions for Card Transactions:
             If in the event your Card or Card number is lost,               If you receive or otherwise use the Alerts service or
        stolen, or used without authorization, you are not               Chase Mobile service, you agree to the following terms.
        liable for any unauthorized transactions including trans-        If you are enrolled in Chase OnlineSM, the terms of the
        actions made at merchants, over the telephone, at ATMs,          Online Service Agreement control the terms of these
        or online when you notify the Bank promptly.                     services instead.
             However, these Special Provisions do not apply                  • You will provide a valid telephone number,
        and are not covered by our Zero Liability policy (in                     e-mail address or other delivery location for these
        which case the Bank may impose greater liability on the                  services so we can send you certain information
        cardholder) when they include transactions where you                     about your account.
        were grossly negligent or fraudulent in the handling of              • We may send Alerts or Chase Mobile messages
        the account or Card, where you have given someone else                   through your communication service provider, who
        your Card, Card number or PIN, or where you delay                        will act as your agent and deliver them to you.
        in reporting unauthorized transactions for more than                     Messages may be delayed or affected by your com-
        sixty days.                                                              munication service provider(s) or others.

        HOW TO CONTACT US:
                                                                             • We will not charge a fee for the Alerts or Chase
                                                                                 Mobile text services, but you are responsible for
        Personal Accounts:                                                       any and all charges, including, but not limited to,
          Main Phone number:              1-800-935-9935                         fees associated with text messaging imposed by
          Spanish:                        1-877-31CHASE                          your communication service provider. Standard
                                         (1-877-312-4273)                        messaging charges apply. Such charges include
        Business Accounts:                                                       those from your communication service
          Main Phone number:              1-800-CHASE38                          provider. Message frequency depends on user
                                         (1-800-242-7338)                        preferences. To cancel the Chase Mobile text
          Spanish:                        1-888-622-4273                         messaging services, send STOP to 24273 at
                                                                                 any time. For help or information on the Chase
        Hearing Impaired:                 1-800-CHASE TD                         Mobile text messaging services, send HELP to
                                         (1-800-242-7383)                        24273. For additional assistance with these services,
        International Calls:              1-713-262-1679                         contact customer service at 1-877-242-7372.
        Web Site:                         Chase.com                          • Alerts and Chase Mobile are provided for your
        Addresses:                                                               convenience and do not replace your monthly
           JPMorgan Chase Bank, N.A.                                             account statement(s), which are the official
           P.O. Box 260180                                                       records of your accounts.
           Baton Rouge, LA 70826-0180                                        • You understand we may not encrypt information
            If you believe your debit card has been lost or                      when it is sent to you through these services. This
        stolen, or for information about purchase and ATM                        information may include personal or confidential
        transactions, call us at the telephone numbers listed                    information about you, such as account activity
        here or write:                                                           or the status of your account, and for phone
                                                                                 Alerts, may be delivered to voicemail or answer-
                                                                                 ing machines if someone doesn't answer the
                                                                                 number you provide.


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            You understand we are not liable for losses or                   Business savings account at the Bank (“Savings
        damages from any disclosure of account information                   Account”), a credit card at Chase Bank USA, N.A.
        to third parties, non-delivery, delayed delivery,                    (“Credit Card”) or a Business Line of Credit at the
        misdirected delivery or mishandling of, or inaccurate                Bank (“Line of Credit Account”) or Business
        content in, the Alerts or the account information sent               Overdraft Line of Credit at the Bank (“Overdraft
        thru Chase Mobile. The Chase Mobile text messaging                   Line of Credit Account”). Overdraft Protection will
        service may only be activated by customers with                      become effective after the Bank has received your
        eligible accounts. While you have to have an eligible                Request and had a reasonable time to act upon it.
        account to use the Chase Mobile text messaging                    3. Activation: Whenever checks or other customer
        service, once you activate the service, if you have other            initiated transactions are drawn on a Checking
        types of accounts with us, you may have access to                    Account which, if paid, would cause the Checking
        those other accounts as well.                                        Account to become overdrawn, such event will con-
            You agree to indemnify us for all claims, losses,                stitute a transfer request and we will initiate a trans-
        liability, costs and expenses (including reasonable attor-           fer (“Transfer”) from the Funding Account to the
        neys' fees) that arise if you provide an incorrect tele-             Checking Account in multiples of $50.00 (which
        phone number, e-mail address or other delivery                       includes the Transfer Fee) sufficient to pay those
        location or if you violate applicable federal, state                 checks or other customer initiated transactions
        or local laws, regulations or ordinances. You understand             drawn on the Checking Account. If the Funding
        this section will survive even if this Agreement is                  Account is a Credit Card Account, Transfers will be
        terminated.                                                          charged to the Credit Card Account under the terms
                                                                             disclosed in your credit card Cardmember Agreement
                                                                             for personal or your Business Credit Card
                                                                             Cardmember Agreement for business customers. If
        Overdraft Protection                                                 the Funding Account is a Line of Credit Account or
        Services                                                             Overdraft Line of Credit Account, Transfers will be
                                                                             charged to the Line of Credit Account or Overdraft
           You must separately sign up for Overdraft Protec-                 Line of Credit Account, under the terms disclosed in
        tion as it does not automatically apply to new accounts.             your Home Equity or Prestige agreement, or Busi-
                                                                             ness Line of Credit or Business Overdraft Line of
        1. Definitions: As used in this Overdraft Protection                 Credit loan documents. Transfers will appear on the
           Services section, the following terms shall have the              periodic statements for the applicable Checking
           following meanings:                                               Account and the Funding Account. We have no obli-
           “You” or “your” means the person(s) or entity who                 gation to inform the checking account owner if the
           has requested Overdraft Protection or Business                    status of the Funding Account or actions of the
           Overdraft Protection (“Request”). “Overdraft                      Funding Account owner results in the Overdraft
           Protection” means the automated funds transfer                    Protection being unavailable.
           service established pursuant to the Request and this           4. Maximum Overdraft Protection Amount: The
           section. “Funding Account” means the account from                 maximum amount of a Transfer (“Maximum
           which Overdraft Protection transfers are made.                    Transfer”) will be the available balance in the
           “Checking Account(s)” means one or more personal                  Savings Account, the available credit under the
           checking accounts for which Overdraft Protection                  Credit Card Account or the available credit under
           is requested or one or more Business checking                     the Line of Credit Account at the time of a Request
           accounts for which Business Overdraft Protection                  as applicable. In no event shall a Transfer exceed the
           is requested, as designated on the Request for                    Maximum Transfer. If the amount of the Transfer
           Overdraft Protection.                                             calculated in paragraph three above exceeds the
        2. Overdraft Protection Request: The Request must                    Maximum Transfer, then notwithstanding the pro-
           specify the Checking Account(s) and a single                      visions of paragraph three, the Transfer will be an
           Funding Account. For personal accounts, the Funding               amount equal to cover the amount overdrawn
           Account may be a personal savings account at the                  (which includes the Transfer Fee) for those checks
           Bank (“Savings Account”), a qualifying credit card                or other customer initiated transactions paid as a
           account at Chase Bank USA, N.A. (“Credit Card                     result of the Transfer.
           Account”), a Home Equity Line of Credit at the Bank            5. Fees: For each day on which a Transfer occurs,
           (“Line of Credit Account”), or a Prestige Line of                 an Overdraft Protection Transfer fee will be
           Credit at the Bank (“Line of Credit Account”). For                charged to each Checking Account that receives
           business accounts, the Funding Account may be a                   a Transfer.
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        6. Limits On Savings Account Transfers: If the                   Q . What information do you have about me?
           Funding Account is a Savings Account, Transfers
                                                                         A . To provide services and to help meet your needs,
           from the Savings Account are considered “pre-
                                                                             we collect information about you from various
           authorized transfers.” The number of such Transfers
                                                                             sources.
           that may be made during each month or each
           statement cycle is limited in accordance with                    •   We get information from your requests for our
           federal regulations and our Account Agreement for                    products or services. One example is income
           deposit accounts. See the Withdrawal Procedures                      on loan applications.
           and Limitations section for more detail.                         •   We get information about your transactions
        7. Termination Of Overdraft Protection By The                           with us and with others. For example, we have
           Bank: We may terminate Overdraft Protection for                      your account balance information.
           a Checking Account at any time upon sending writ-                •   We get information, such as your credit history,
           ten notice to the last address for the Checking                      from credit bureaus.
           Account shown on our records. If the Funding
           Account is closed or blocked for usage, Overdraft             Q . How do you safeguard information about me?
           Protection will not be available. If a Checking               A . We take a number of steps to protect the privacy of
           Account is closed or blocked for usage, Overdraft                 information about you. Here are some examples:
           Protection for that Checking Account will not be                 •   We keep information under physical, electronic
           available.                                                           or procedural controls that comply with or
        8. Termination Of Card Privileges: We may termi-                        exceed governmental standards.
           nate or block the use of a Card with access to                   •   We authorize our employees, agents and con-
           a Checking Account when, at our discretion, we                       tractors to get information about you only
           reasonably believe that there is unusual Overdraft                   when they need it to do their work for us.
           Protection activity for that Checking Account.
                                                                            •   We require companies working for us to protect
        9. Termination Of Overdraft Protection By                               information. They agree to use it only to provide
           Customers: The owner of a Checking Account or a                      the services we ask them to perform for us.
           Funding Account may cancel Overdraft Protection
           for that Checking Account by requesting the can-              Q . Is information about me shared within your
           cellation in person at a branch or by delivering to               family of companies?
           us written notice of cancellation. Any cancellation           A . Yes. We may share information about you within
           under this paragraph nine will be effective after we              our family as required or permitted by law. This
           have received notice of such cancellation and had a               helps us to offer you financial products and serv-
           reasonable time to act upon it.                                   ices, such as loans, deposits, investments, credit
        10. Transfer Requests For Multiple Checking                          cards and insurance.
            Accounts: If transfer requests occur with respect
            to more than one of the Checking Account(s) on               Q . Is information about me shared with service
            the same day, we shall have sole discretion in deter-            provid ers and financial companies outside
            mining the order in which such transfer requests are             your family of companies?
            processed.                                                   A . Yes, as permitted by law. We may share information
                                                                             about you with outside companies that work for
                                                                             us. These may include firms that assist in marketing
                                                                             our products. We may also share information
                                                                             about you with outside financial companies that
        SECTION III:                                                         have joint marketing agreements with us. These
                                                                             arrangements give you the opportunity to receive
        Chase Privacy Policy                                                 additional products or services.

        This Policy explains what Chase does to keep infor-              Q . Is information about me shared with non-
        mation about you private and secure. We want you to                  financial companies outside your family of
        know how we manage that information to serve you                     companies?
        and that you have choices about how it is shared. This
                                                                         A . Yes. We may share information about you with
        Policy covers our family of companies, a partial list of
                                                                             companies outside of our family as permitted
        which is contained at the end of this Policy. Please read
                                                                             by law, including retailers, auto dealers, automak-
        this Policy carefully.
                                                                             ers, direct marketers, membership clubs and
                                                                             publishers.
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        Q . Is information about me shared in any other                        marketing their products and services to you
            ways?                                                              if you do not have an account or business
                                                                               relationship with them. These marketing offers
        A . Yes. We may also share information about you                       are based on your personal information that
            in other ways, as required or permitted by law.                    our affiliate receives from another Chase
            Here are some examples of ways that we share                       company; this information includes your
            information.                                                       income, your account history with us and your
            • To protect against fraud.                                        credit history with us. Your choice to limit these
            • To respond to a subpoena.                                        marketing offers will apply for five years from
            • To service your account.                                         when you tell us your choice. After five years,
                                                                               you will receive a renewal notice from us that
            • To report to a credit bureau.                                    will allow you to continue to limit our affiliate
            • With your consent.                                               marketing.
        Q . What choices do I have about information
                                                                         Q . How do I tell you about my privacy choices?
            sharing and use?
                                                                         A . You may contact us by:
        A . We offer you the following two choices about
            sharing information that identifies you:                         • Calling us toll-free at 1-888-868-8618, or
           •   Choice #1. Third party sharing: You may tell us               • For hearing impaired assistance, dialing 7-1-1,
               not to share information about you with non-                    then 1-888-868-8618 and wait for operator
                                                                               assistance, or
               financial companies outside of our family of
               companies. Even if you do tell us not to share,               • Writing us at P.O. Box 260177, Baton Rouge, LA
               we may do so as required or permitted by law.                   70826-0177
               Also if you have authorized us to share infor-
               mation in connection with a particular product              You do not need to contact us unless you want to
               or service, we will continue to share informa-              make one of the privacy choices listed above.
               tion about you in connection with that product
               or service. For example, you might have a credit          Q . What about joint accounts?
               card with one of our airline, retail or university
               partners that offers rewards programs.                    A . Each person may separately make privacy choice
                                                                             and joint account holders may make privacy choices
                                    and
                                                                             for each other. If only one joint account holder
           •   Choice #2. Affiliate sharing: You may tell us not             makes a privacy choice, information about the
               to share the following information about you                  other joint account holder may be shared.
               within our family of companies:
               • Information from your applications to be                Q . How do you tell me about your Policy?
                  used to determine your eligibility, such as            A . We send our Policy to you when you open a new
                  your income.                                               account. We also send it to current customers
               •   Information from consumer credit reports,                 yearly. We may change our Policy. We will send you
                   such as your credit history.                              a new policy if we broaden our information sharing
               •  Information from sources used to verify in-                practices about you. Our Policy is available at
                  formation you provide us, such as out-                     www.Chase.com/privacy.
                  standing loans or employment history.
               Even if you do tell us not to share, we may share         Special Notice for Vermont Residents.
               other types of information within our family.             In order to comply with Vermont law, we will auto-
               For example, we may share name and address,               matically treat accounts with Vermont mailing
               information about transactions or balances                addresses as if you have made the privacy choices
               with us, as well as survey results.                       listed above. In addition, if we disclose information
                                      and                                about you to other financial institutions with which
               Choice #3. Affiliate marketing: You may tell us           we have joint marketing agreements, we will only
           •                                                             disclose your name, contact information and infor-
               to limit our family of companies, such as our
               credit card and securities affiliates, from               mation about your transactions.




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        Special Notice for California Residents.                   This Policy applies to current and former consumer
                                                                   customers including Chase accounts acquired from
        In order to comply with California law, the following      Washington Mutual. Separate policies may apply to
        applies if your account has a California mailing           customers of certain businesses, such as J.P. Morgan’s
        address.                                                   Private Bank or J.P. Morgan’s Private Wealth
           •   Even if you do not make privacy choice #1 listed    Management. In addition, customers in certain states
               above, we will not share information that we have   may also receive policies that apply to them. The pri-
               about you with non-financial companies outside      vacy policies posted on our websites apply when you
               our family of companies, unless otherwise           use those sites. In addition, our online consumer
               permitted by law.                                   information practices are at www.Chase.com/privacy.
           •   We will not share information about you within,
               or with financial companies outside, our family
               of companies unless we first provide you with
               further privacy choices or unless otherwise
               permitted by law.

        Q . Who is covered by this Policy?
        A . This Policy covers the JPMorgan Chase & Co. family
            of companies. The following is a partial list of its
            U.S. consumer financial services companies.
            • JPMorgan Chase Bank, N.A.
            • JPMorgan Insurance Agency, Inc.
            • J.P. Morgan Securities Inc.
            • Chase Bank USA, N.A.
            • Chase Auto Finance Corp.
            • Chase Home Finance LLC
            • Chase Investment Services Corp.
            • Chase Insurance Agency, Inc.
            • Banc One Acceptance Corp.
            • Bank One Education Finance Corporation
            • Chase Student Loan Services, Inc.
            • CSL Servicing LLC
            • Chase Paymentech Solutions, LLC
            • Chase Bankcard Services, Inc.
            • WaMu Insurance Services, Inc.
            • WaMu Investments, Inc.
            • WMFS Insurance Services, Inc.




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        For accounts opened prior to May 22, 2009.
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